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      EXHIBIT 5
                                Case:
            Hearing Date: 7/24/2023  9:301:23-cv-04015
                                         AM                                12-Person
                                                                  Document #: 1-5 Filed:Jury
                                                                                         06/23/23 Page 2 of 230 PageID #:62
            Location: Court Room 2402
            Judge: Price Walker, Allen
                                                                                                                  FILED
                                                                                                                  3/24/2023 2:43 PM
                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS         IRIS Y. MARTINEZ
                                                                                                                  CIRCUIT CLERK
                                                               COUNTY DEPARTMENT, CHANCERY DIVISION               COOK COUNTY, IL
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                                                                                                                  2023CH02874
                                                                                                                  Calendar, 3
                                            ERICA NORMAN, individually and on behalf                              22015106
                                            of all others similarly situated,

                                                                     Plaintiffs,

                                            v.                                                    2023CH02874
                                            SERVALL BIOMETRICS D/B/A
                                            PATRONSCAN, Inc.

                                                                     Defendants.


                                                                        CLASS ACTION COMPLAINT
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                                                   Plaintiff Erica Norman brings this action against Defendant Servall Biometrics d/b/a

                                            Patronscan Inc. (“Patronscan”), individually and on behalf of all others similarly situated,
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                                            and alleges the following based on personal knowledge, the investigation of counsel, and

                                            information and belief.


                                                                               I.     INTRODUCTION

                                                   1.     On January 13, 2023, Plaintiff Erica Norman attended a “Pajamas” concert at

                                            Bourbon on Division, a music venue located on Division Street in Wicker Park, Chicago.

                                                   2.     Before Ms. Norman entered the concert, the venue’s bouncer scanned her face

                                            and her driver’s license using a Patronscan device. The Patronscan device took a photograph

                                            of Ms. Norman and then performed a scan of facial geometry on that photograph and the

                                            image of Ms. Norman on her driver’s license.

                                                   3.     Ms. Norman was not provided with written disclosures and she did not provide

                                            informed written consent regarding this collection and use of her biometric identifiers and

                                            information (collectively, “biometric data”).

                                                   4.     In capturing, storing, and sharing the biometric data of Ms. Norman and others

                                            without proper disclosures and written consent, Patronscan violated and continues to violate

                                            the Illinois Biometric Information Privacy Act (“BIPA” or “the Act”).

                                                   5.     Patronscan violates BIPA in a particularly Orwellian manner by moving

                                            beyond advanced facial-recognition software, where a program essentially matches facial

                                            attributes between two photographs and provides verification: In addition to collecting scans

                                            of people’s faces to cross-check individual faces against an individual’s proffered form of

                                            identification (“ID”), Patronscan also examines and captures thousands of data points and

                                            pixels and runs a person’s facial scan and ID against its growing database of criminals, more


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                                            than 50,000 flagged “troublemakers,” and “V.I.P.’s,” whose information—biometric and

                                            otherwise—is shared among Patronscan and its expanding network of business customers.1
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                                                   6.        And if trouble occurs after a previously unflagged patron enters an

                                            establishment, Patronscan admits it retains the biometric data of suspect customers for

                                            inclusion in its flagged database, advertising the service as equivalent to a “bouncer that never

                                            forgets a face[.]”2




                                                   7.        In the regular course of its business, Patronscan shares captured biometric

                                            data of persons like Ms. Norman with third parties, including Patronscan’s customers—

                                            namely, the venue, bar, or business and law enforcement officials—without a warrant or

                                            subpoena.3




                                                   1
                                                    Patronscan, ID Scanner for Bars (last visited March 20, 2023),
                                            https://patronscan.com/id-scanner-for-bars/.
                                                   2
                                                       Id.
                                                   3
                                                    Entertainment Venue Privacy Policy, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/privacy-entertainment-venues.

                                                                                            2
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                                                   8.       Patronscan’s trade in biometric information has profound implications for the

                                            data privacy rights and civil liberties of Illinois citizens and residents of other states visiting
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                                            businesses in Illinois. Patronscan’s core business practice directly contravenes the letter and

                                            purpose of BIPA.

                                                   9.       In 2008, the State of Illinois enacted BIPA with the purpose of serving “[t]he

                                            public welfare, security, and safety . . . by regulating the collection, use, safeguarding,

                                            handling, storage, retention, and destruction of biometric identifiers and information”4—

                                            namely, identifiers such as “a retina or iris scan, fingerprint, voiceprint, or scan of hand or

                                            face geometry,” and biometric information derived from those identifiers.5 In so doing, the

                                            Illinois legislature recognized that “[t]he full ramifications of biometric technology are not

                                            fully known,”6 and that “[b]iometrics . . . are biologically unique to the individual; therefore,

                                            once compromised, the individual has no recourse.”7

                                                   10.      BIPA addresses the dangers posed by the mishandling of biometric identifiers

                                            and information by providing a right of action to any person who is subjected to a violation

                                            of the Act within the State of Illinois.8

                                                   11.      As relevant here, a private entity in the possession of biometric identifiers or

                                            information violates BIPA when it:

                                                           i.   collects and captures biometric information before first “inform[ing] the
                                                                subject . . . in writing that a biometric identifier or biometric information
                                                                is being collected or stored[,]” “inform[ing] the subject. . . in writing of the

                                                   4
                                                       740 ILCS 14/5(g).
                                                   740 ILCS 14/10 (defining “biometric identifier” and “biometric information”)
                                                   5

                                            (emphasis added).
                                                   6
                                                       740 ILCS 14/5(f).
                                                   7
                                                       740 ILCS 14/5(c).
                                                   8
                                                       740 ILCS 14/20.

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                                                                   specific purpose and length of term for which a biometric identifier or
                                                                   biometric information is being collected, stored, and used,” and then
                                                                   “receiv[ing] a written release executed by the subject of the biometric
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                                                                   identifier or biometric information”;9

                                                             ii.   fails to obtain a person’s consent before “disclos[ing], redisclos[ing], or
                                                                   otherwise disseminat[ing] a person’s . . . biometric identifier or biometric
                                                                   information” to a third-party;10 and

                                                            iii.   fails to establish a publicly available policy “establishing a retention
                                                                   schedule and guidelines for permanently destroying biometric identifiers
                                                                   and information,”11 and profits in any way from the use of her biometric
                                                                   identifiers and information.12

                                                    12.       As a private entity in the possession of biometric information and identifiers

                                            obtained by capturing, using, storing, and sharing them through its portal and software,

                                            Patronscan violated and continues to violate § 15(a) of BIPA by failing to establish a publicly

                                            available policy establishing a retention schedule and guidelines for permanently destroying

                                            biometric data obtained from customers entering establishments that use Patronscan in

                                            Illinois.13

                                                    13.       Patronscan violated and continues to violate § 15(b) of BIPA by collecting this

                                            biometric data without first providing written notice and obtaining written informed consent

                                            from persons entering venues using Patronscan, including Plaintiff and Class Members.14

                                                    14.       Patronscan violated and continues to violate § 15(c) of BIPA by wrongfully

                                            profiting from the biometric data it has collected from its customers’ patrons—including the


                                                    9
                                                         740 ILCS 14/15(b)(1)-(3).
                                                    10
                                                          740 ILCS 14/15(d).
                                                    11
                                                          740 ILCS 14/15(a).
                                                    12
                                                          740 ILCS 14/15(c).
                                                    13
                                                          740 ILCS 14/15(a).
                                                    740 ILCS 14/15(b) (requiring provision of written disclosure and obtaining written
                                                    14

                                            informed consent).

                                                                                              4
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                                            scans Plaintiff’s and Class Members’ facial geometries —by using the biometric data it obtains

                                            to maintain a database of “problem individuals” and improve its ID authentication software,
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                                            thereby making the technology more profitable to Patronscan, which sells its hardware and

                                            software to businesses in the State of Illinois.

                                                   15.     Patronscan violated and continues to violate § 15(d) by failing to obtain consent

                                            from people before disclosing, redisclosing, and disseminating their biometric identifiers or

                                            biometric information to a third-party, like venue employees, subcontracted security

                                            personnel, and law enforcement officials, and upon information and belief, third-party

                                            databases, without patrons’ consent.

                                                   16.     In sum, Patronscan obtained Plaintiff’s and Class Members’ facial scans

                                            through its hardware and then stored, used, and shared those scans through its software. In

                                            doing so, Patronscan profited from Plaintiffs’ and Class Members’ biometric data and harmed

                                            the substantive privacy interests that BIPA was intended to protect.




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                                                                                    II.      PARTIES
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                                                   17.     Plaintiff Erica Norman is a natural person and citizen of the State of Illinois,

                                            residing in the Northern District of Illinois.

                                                   18.     Servall Biometrics d/b/a Patronscan is a Canadian corporation with a

                                            principal place of business at 10504 42 St. SE. Calgary, Alberta, Canada.


                                                                         III.    JURISDICTION AND VENUE


                                                   19.     This is a class action complaint for violations of BIPA (740 ILCS 14/1, et seq.),

                                            seeking statutory and actual damages.

                                                   20.     No federal question is presented by this complaint. Plaintiffs bring this

                                            complaint solely under state law and not under federal law, and specifically not under the

                                            United States Constitution, nor any of its amendments, nor under 42 U.S.C. § 1981 or 1982,

                                            nor any other federal statute, law, rule, or regulation. Plaintiff believes and alleges that a cause

                                            of action exists under state law for the conduct complained of herein.

                                                   21.     This Court has personal jurisdiction over Plaintiff and the Class because they

                                            submit to the Court’s jurisdiction. This Court has personal jurisdiction specifically over

                                            Defendant because Defendant deliberately targeted the Illinois market by actively marketing,

                                            selling, and acquiring customers in the state who have paid Defendant significant sums of

                                            money, and entered into contracts for the use of its hardware and software that captures, uses,

                                            stores, and disseminates biometric information and identifiers, from which the company




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                                            profits.15 Plaintiffs’ claims therefore arise out of, or relate to, Defendant’s extensive business

                                            contacts and contractual performance within the state of Illinois.16
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                                                   22.     Venue is proper in this County under 735 ILCS 5/1-108 and 2-101 because a

                                            substantial part of the acts or omissions giving rise to the claims occurred in Cook County.

                                            Specifically, Patronscan’s collection of Plaintiff’s and many Class Members’ biometric

                                            information occurred within Cook County.


                                                                           IV.     FACTUAL ALLEGATIONS

                                            A. Patronscan collects biometric information and identifiers.

                                                   23.     On January 13, 2023, Plaintiff attended a concert and was subjected to

                                            Patronscan’s technology. Before Plaintiff arrived at the concert venue, she received an

                                            electronic ticket that did not contain disclosures about the venue or Patronscan’s collection,

                                            use, or disclosure of her biometric information. Upon entry into the concert venue, a bouncer

                                            asked Ms. Norman to hand over her driver’s license, scanned her license into a Patronscan

                                            portal, and then took her photograph with a camera attached to a Patronscan portal.

                                            Patronscan software then scanned her facial geometry from the photograph.




                                                   15
                                                     735 ILCS 5/2-209(a)(1) (transaction of any business), (a)(7) (making or
                                            performance of any contract connected with this State), (b)(4) (corporation doing business
                                            within this State), (c) (jurisdiction on any other basis).
                                                   16
                                                       See e.g., Maunder v. DeHavilland Aircraft of Canada, Ltd., 112 Ill. App. 3d 879, 883 (1st
                                            Dist. 1983), aff'd, 102 Ill. 2d 342 (“Defendant in the present case [a Canadian corporation],
                                            as in Beech Aircraft, entered the Illinois market by way of its distributor [a third party].
                                            Defendant regularly and systematically reaped substantial profits through the sale of its parts
                                            [product] by its Illinois subsidiary. The fact that these sales were conducted indirectly
                                            through a third party does not excuse defendant from the jurisdiction of Illinois courts. In
                                            light of . . . its own activities directed at promoting the sale of its product in Illinois, we hold
                                            that defendant is actively and systematically doing business in Illinois and is therefore
                                            subject to the jurisdiction of Illinois courts.”).

                                                                                             7
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                                                   24.     The Patronscan portal and biometric information collection process is shown

                                            on its website:17
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                                                   17
                                                     Video of Patronscan Scanning Process, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/id-scanner-for-bars/.

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                                                   25.    Security or venue personnel place an ID into the Patronscan portal, which

                                            scans the ID and uploads the ID to Patronscan’s software, which runs a multi-step

                                            authentication check on the ID itself. Simultaneously, the camera attached to the Patronscan

                                            portal takes a photograph of the patron, uploads the photograph to Patronscan’s software,

                                            which scans the photograph for facial geometry, and compares that geometry to the provided

                                            ID, as well as Patronscan’s database of flagged and V.I.P. individuals.

                                                   26.    Patronscan collects the information of thousands of other Illinois citizens and

                                            residents of other states visiting businesses in Illinois. Indeed, Patronscan confirms that it

                                            collects data to “verify and authenticate patron age and match patrons against the venue or

                                            networked flag list [explained below]. Patronscans[’] collection of data is limited to: Name,

                                            Date of Birth, Photo, Gender, Post Code/Zip Code.” 18




                                                    Entertainment Venue Privacy Policy, PATRONSCAN (last visited March 20, 2023)
                                                   18

                                            (emphasis added), https://patronscan.com/privacy-entertainment-venues.

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                                            B. Patronscan fails to give citizens written disclosures and obtain their written informed
                                               consent before collecting their biometric information and identifiers.
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                                                   27.    When Plaintiff entered Bourbon on Division, there was no posted written

                                            notice inside or outside the venue about the collection of biometric data, nor did she receive

                                            an email or any other written notice from Patronscan with a biometric disclosure before the

                                            event, nor were there biometric disclosures on her concert ticket. Plaintiff was therefore

                                            wholly unable to give her informed written consent for the collection of her biometric

                                            information, nor did she ever provide Patronscan with such consent before her face was

                                            scanned by the company.

                                                   28.    Plaintiff’s experience is representative of patrons’ experiences generally.

                                                   29.    Patronscan advertises that ID authentication and flag-checks can be performed

                                            “in seconds.”19 The process can be completed in seconds only because Patronscan does not

                                            provide a written notice to patrons, allow them adequate time to review it, or obtain their

                                            informed written consent.

                                            C. Patronscan uses citizens biometric information and identifiers and discloses them to
                                               third-parties without their written informed consent.

                                                   30.    One of Patronscan’s core functions is a tool to verify forms of identification by

                                            scanning IDs and faces to “analyze[ ] over 6,000 data points” between a person’s face and

                                            their form of identification to “determine an ID’s authenticity.”20 The company’s “proprietary

                                            algorithms go beyond simple ID authentication to look for pixel-level discrepancies” between

                                            a patron’s ID, a stored copy of an authenticated ID from the same issuer, and the patron’s



                                                   19
                                                     See Developer Page, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/developer.
                                                   20
                                                     ID Scanner for Bars, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/id-scanner-for-bars.

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                                            face. Patronscan “software uses a combination of technologies such as artificial intelligence”

                                            as well as “character recognition, barcodes, rfids, microprint, etc.”21 The company allows
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                                            users to “[i]ntegrate Patronscan’s [face] scanning software into [their] iOS, Android, web, or

                                            desktop application to authenticate IDs and capture [biometric] data [and] [r]eceive

                                            [identification] authentication responses in seconds, not hours or days.”22

                                                   31.    The company markets its ID and face scanning hardware (device that captures

                                            biometric data through scans of facial geometry) and software (biometric information

                                            database) to nightclubs and bars, vape shops, automotive dealerships, property managers,

                                            dispensaries, retail establishments, financial services institutions, and telecom companies.23

                                                   32.    Beyond ID verification, a core function of Patronscan is the recognition of both

                                            “flagged" troublemakers and V.I.Ps through their biometric identifiers. “Patronscan is also

                                            used as an informational system that allows [businesses] to flag individuals who are reported

                                            to have engaged in conduct on a patron’s presence that created a serious risk to guests or

                                            staff.”24 Patronscan hosts a database of “flagged” individuals which warehouses the data of

                                            “50,000+ individuals known for assaults, chargebacks, drugs, and property damage.”25




                                                    Patronscan, “Advantages” Page, accessible at: https://patronscan.com/
                                                   21

                                            advantages (last accessed March 20, 2023).
                                                   22
                                                     Developer Page, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/developer.
                                                   23
                                                     Welcome Page, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/.
                                                   24
                                                     See Privacy Page, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/privacy-entertainment-venues.
                                                   25
                                                     See ID Scanner for Bars, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/id-scanner-for-bars/.

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                                                    33.        “Flags can be either single venue or shared across all networked venues (shared

                                            with other participating venues). Venue flags pertain only to the venue/venues in the same
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                                            ownership group who placed the flag and are not visible to any other venue. As of January 1,

                                            2019, the maximum flag period for any existing or new venue flag is 5 years. This storage

                                            period applies only for the same business flags. If you have a venue flag, it will only be

                                            displayed if your ID [and face] is scanned at the business that created the flag, if you visit a

                                            different business your flag will not be displayed.” 26

                                                    34.        “Networked flags can be viewed by other venues on the network. These flags

                                            are only shown when a patrons[’] ID [and face] is scanned at the venue. Venues cannot search

                                            or view other business’ flags. Flags are only visible when the patrons ID is scanned at those

                                            venues. The maximum flag period for a networked flag is 1 year in length.” 27

                                                    35.        The software also allows users to mark patrons for positive reasons, allowing

                                            bar and venue users to “treat VIPs” like VIPs. Patronscan allows businesses to recognize

                                            V.I.P. IDs and faces upon arrival and “deliver memorable experiences by sending staff

                                            notifications . . . . [allowing them to] [h]andle private club membership requirements and

                                            reward big spenders with special treatment. [Patronscan can] [t]ier . . . members into groups

                                            so [   ] door staff recognize and welcome [the] most valued patrons.”28

                                                    36.        To accomplish these objectives, Patronscan discloses a patron’s biometric

                                            information and identifiers to third-party databases to check for criminal history, and discloses




                                                     Privacy Page, PATRONSCAN (last visited March 20, 2023), https://patronscan.com/
                                                    26

                                            privacy-entertainment-venues.
                                                    27
                                                         Id.
                                                     ID Scanner for Bars, PATRONSCAN (last visited March 20, 2023),
                                                    28

                                            https://patronscan.com/id-scanner-for-bars.

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                                            their information to the venue itself (a third-party outside of the data subject – Patronscan

                                            relationship), as well as their security personnel (who are often third-party subcontractors),
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                                            and renders an “accepted” message for Patrons that pass verification and flag checks, like

                                            Plaintiff, alerts them of the presence of a “V.I.P,” or provides a “flagged” alert for purported

                                            “troublemakers” that are rejected at the door.29

                                                   37.        But Patronscan’s disclosure of biometric data does not end at the entryway. “If

                                            the venue needs to log an incident [after entry] and place a patron on the flagged list for

                                            example, the venue [or its security] can [go back and] reference a photo and data such as name,

                                            age, and gender.”30

                                                   38.        And “[i]n case of a major incident concerning public safety, law enforcement

                                            may obtain access to a venues data, but only when an official investigation has been launched.

                                            The three conditions in which law enforcement may request Patronscan information include:

                                            [1] The law enforcement agency has identified its lawful authority to obtain the information[;]

                                            [2] The law enforcement agency has indicated that the disclosure is requested for the purpose

                                            of enforcing a law in its jurisdiction, carrying out an investigation relating to the enforcement

                                            of any such law, or gathering intelligence for the purpose of enforcing any such law[;] [3] The

                                            law enforcement agency has provided an investigation number or any other uniquely

                                            identifiable number that can be traced back to the purpose of the disclosure request.”31

                                                   39.        In none of the three conditions above does Patronscan require law enforcement

                                            officials to provide the company a warrant or subpoena before sharing citizens’ biometric data


                                                   29
                                                     Entertainment Venue Privacy, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/privacy-entertainment-venues.
                                                   30
                                                        Id. (emphasis added).
                                                   31
                                                        Id.

                                                                                             13
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                                            with them.32 Even if Patronscan asks a law enforcement agency to identify its “lawful

                                            authority to obtain the [biometric] information,” doing so does not equate to actually
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                                            requiring the provision of a warrant or subpoena before handing over such sensitive

                                            information.

                                            D. Patronscan fails to provide a publicly available, BIPA-compliant retention policy.

                                                   40.        Patronscan provides the following retention and deletion policy on its website:

                                                              Unless a patron is flagged, data is retained [by Patronscan and the
                                                              venue] for a limited period of time before being permanently deleted.
                                                              This period allows crime victims sufficient time to report a crime and
                                                              for law enforcement to review patron records to identify the alleged
                                                              assailant(s) [through the sharing process detailed above]. It is common
                                                              for victims to report crimes several days to weeks later. Data is
                                                              permanently deleted as per the data retention period below: [ ] 30 days
                                                              in the United States (as of January 1st, 2019) . . . The only data that is
                                                              saved beyond the above time frames is specific to patrons that are on
                                                              the flag list.33

                                                   41.        Thus, while non-flagged patrons’ biometric data is purportedly deleted within

                                            30 days if it was collected after January 1, 2019, Patronscan either wholly fails to inform

                                            V.I.P. and flagged individuals when their information will be deleted, or never deletes the data

                                            of V.I.P. and flagged individuals, which could be longer than three years since the individual’s

                                            last interaction with Patronscan.34

                                                   42.        Plaintiff was allowed entry into Bourbon on Division, so was presumably not

                                            a flagged individual at the time of her entry. But Plaintiff is unaware whether she was marked

                                            as a V.I.P. by the venue or Patronscan after her entry, leaving her in limbo of which




                                                   32
                                                        Id.
                                                   33
                                                        Id.
                                                   34
                                                        Id.

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                                            Patronscan retention policy applies. Thus, Patronscan’s retention policy for V.I.P. and flagged

                                            individuals is insufficient.
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                                               E. Patronscan profits from its use of citizens biometric information.

                                                   43.     Patronscan advertises to potential customers that its software is akin to a

                                            “bouncer that never forgets a face.”35

                                                   44.     But Patronscan’s software is much more than a bouncer that never forgets a

                                            face: the software is a digital hivemind that can access caches of a patron’s most sensitive

                                            information, associate a face with bad behavior, criminal history, and perceived social or

                                            economic status, and share that information instantaneously with other “bouncers,” police,

                                            or authorities around the world. Each face scan improves Patronscan software by building its

                                            database of information and increasing its collection of V.I.P. and “flagged” individuals,

                                            which the company then advertises and sells to businesses seeking to track, block, or

                                            incentivize certain types of patrons.




                                                   35
                                                     ID Scanner for Bars, PATRONSCAN (last visited March 20, 2023),
                                            https://patronscan.com/id-scanner-for-bars/.

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                                                                        V.     CLASS ACTION ALLEGATIONS
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                                                    45.      Plaintiff Erica Norman brings this action on behalf of herself and under

                                            735 ILCS 5/2-801 as the representative of a Class defined as follows:

                                                    All persons who had their biometric identifiers or information collected, captured,
                                                    received, otherwise obtained, used, or stored in Illinois by Defendant during the Class
                                                    Period.

                                                    46.      For purposes of this action, the Class Period is defined as March 24, 2018,

                                            through the present.

                                                    47.      Excluded from the Class are Defendant Servall Biometrics d/b/a Patronscan

                                            Inc. and any entity in which Defendant has a controlling interest, as well as any of

                                            Defendant’s legal representatives, officers, directors, assignees, and successors.

                                                    48.      Members of the Class are so numerous that joinder of all Class Members is

                                            impractical. Defendant currently boasts that it has scanned approximately 197,200,0000 IDs

                                            and faces in 203 cities.36 Upon Plaintiff’s personal knowledge, Patronscan has employed its

                                            hardware and software to collect and capture biometric information in the City of Chicago,

                                            Illinois, and upon information and belief, Patronscan has also done so in numerous other

                                            cities in Illinois.

                                                    49.      Plaintiff’s claims are typical of the members of Class Members who were

                                            aggrieved by the same wrongful conduct of Patronscan: their substantive privacy interests

                                            were harmed (i) by Patronscan obtaining their biometric identifiers or information without

                                            first   providing     adequate   written   notice    and   their   informed   written   consent,37



                                                     Entertainment Venue Privacy Policy, PATRONSCAN (last visited March 20, 2023),
                                                    36

                                            https://patronscan.com/privacy-entertainment-venues.
                                                    37
                                                         740 ILCS 14/15(b)(1)–(3).

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                                            (ii) by Patronscan disclosing, redisclosing, or otherwise disseminating their biometric

                                            identifiers     or   information   to   third-parties   without   obtaining    proper   consent,38
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                                            (iii) by Patronscan failing to establish an adequate publicly available policy regarding the

                                            retention of Plaintiff’s and Class Members’ biometric identifiers and information,39 and (iv) by

                                            Patronscan profiting from their biometric identifiers or information.40

                                                    50.      Plaintiff will fairly and adequately protect and represent the interests of the

                                            Class. The interests of Plaintiff are coincident with, and not antagonistic to, those of the other

                                            members of the Class.

                                                    51.      Plaintiff is represented by counsel with experience in the prosecution of

                                            complex class actions and with particular experience with class actions raising claims under

                                            BIPA.

                                                    52.      Questions of law and fact common to the members of the Class predominate

                                            over questions that may affect only individual Class Members because Patronscan has acted

                                            on grounds generally applicable to the entire Class, thereby making damages with respect to

                                            the Class as a whole appropriate. Such generally applicable conduct is inherent in

                                            Patronscan’s wrongful action.

                                                    53.      Questions of law and fact common to the Class include:

                                                                    a. Whether Patronscan established a publicly available policy for
                                                                       retention of biometric identifiers and information sufficient to satisfy
                                                                       the requirements of § 15(a) of BIPA.

                                                                    b. Whether Patronscan provided written notice and obtained written
                                                                       consent of persons whose biometric identifiers and information were
                                                                       collected by Patronscan’s facial scan and ID verification system,

                                                    38
                                                         740 ILCS 14/15(d).
                                                    39
                                                         740 ILCS 14/15(a).
                                                    40
                                                         740 ILCS 14/15(c).

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                                                                     and, if so, whether such notice and consent are sufficient to satisfy
                                                                     the requirements of § 15(b) of BIPA.
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                                                                 c. Whether Patronscan profited from the use of the biometric
                                                                    identifiers and information it collected via Patronscan’s hardware to
                                                                    improve its database of biometric identifiers and information on
                                                                    non-flagged and flagged individuals it sells to businesses, contrary to
                                                                    § 15(c).

                                                                 d. Whether Patronscan obtained requisite consent before disclosing,
                                                                    redisclosing, or otherwise disseminating biometric identifiers or
                                                                    biometric information to a third-party to satisfy the requirements of
                                                                    § 15(d).

                                                                 e. Whether persons who had their biometric identifiers and
                                                                    information captured by Patronscan are entitled to damages, and, if
                                                                    so, in what amount.

                                                                 f. Whether Patronscan should be enjoined from collecting biometric
                                                                    identifiers and information illegally through its hardware and using
                                                                    them in its software.

                                                   54.    A class action is a superior method for the fair and efficient adjudication of the

                                            controversy. A class action will permit a large number of similarly situated persons to

                                            prosecute their common claims in a single forum simultaneously, efficiently, and without the

                                            unnecessary duplication of evidence, effort, or expense that numerous individual class actions

                                            would engender. The benefits of proceeding through the class mechanism, including

                                            providing injured persons or entities a method for obtaining redress on claims that could not

                                            practicably be pursued individually, substantially outweighs the potential difficulties in

                                            management of this class action.

                                                   55.    Plaintiffs know of no special difficulty to be encountered in the maintenance of

                                            this action that would preclude its maintenance as a class action.




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                                                                               VI.    CLAIMS FOR RELIEF

                                                 Claim 1: Violation of Section 15(a) of Illinois’s Biometric Information Privacy Act
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                                                 (740 ILCS 14/15(a)) by Failing to Establish a Publicly Available Policy Governing
                                                              the Retention of Biometric Identifiers and Information

                                                   56.        Plaintiff repeats and incorporates by reference all preceding paragraphs and

                                            allegations.

                                                   57.        Section 15(a) of BIPA provides that “[a] private entity in possession of

                                            biometric identifiers or biometric information must develop a written policy, made available

                                            to the public, establishing a retention schedule and guidelines for permanently destroying

                                            biometric identifiers and biometric information . . . .”41 The biometric identifiers and

                                            information must be permanently destroyed “when the initial purpose for collecting or

                                            obtaining such identifiers or information has been satisfied or within 3 years of the

                                            individual’s last interaction with the private entity, whichever occurs first.”42

                                                   58.        Servall Biometrics d/b/a Patronscan is a Canadian corporation and is therefore

                                            a private entity under BIPA.43

                                                   59.        The facial geometries of Plaintiff and Class Members are biometric identifiers

                                            under the Act, and the information that Patronscan derived from these identifiers is biometric

                                            information covered by the Act.44

                                                   60.        As explained in paragraphs 40 to 42 above, Patronscan did not properly

                                            develop a publicly available written policy governing the retention of biometric identifiers and

                                            information.


                                                   41
                                                        740 ILCS 14/15(a).
                                                   42
                                                        740 ILCS 14/15(a).
                                                   43
                                                        740 ILCS 14/10.
                                                   44
                                                        Id.

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                                                   61.      By improperly retaining the biometric information of Plaintiff and Class

                                            Members, Patronscan violated the very privacy interests that BIPA was intended to protect.
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                                                   62.      On behalf of herself and the Class, Plaintiff seeks:

                                                            (a) injunctive and equitable relief as is necessary to protect the interests
                                                                of Plaintiffs and the Class by requiring Patronscan to develop and
                                                                make publicly available a retention policy that complies with
                                                                BIPA’s § 15(a);45

                                                            (b) the greater of liquidated damages of $5,000 or actual damages for
                                                                each of Patronscan’s intentional or reckless violations of § 15(a);46

                                                            (c) the greater of liquidated damages of $1,000 or actual damages for
                                                                each of Patronscan’s negligent violations of § 15(a);47 and

                                                            (d) reasonable attorneys’ fees and costs and other litigation expenses.48

                                                   Claim 2: Violation of Section 15(b) of Illinois’s Biometric Information Privacy
                                                          Act (740 ILCS 14/15(b)) by Obtaining Biometric Identifiers or
                                                            Biometric Information Without Written Informed Consent

                                                   63.      Plaintiff repeats and incorporates by reference all preceding paragraphs and

                                            allegations.

                                                   64.      Section 15(b) of BIPA makes it unlawful for any private entity to:

                                                            collect, capture, purchase, receive through trade, or otherwise obtain a
                                                            person’s . . . biometric identifier or biometric information, unless it
                                                            first: (1) informs the subject . . . in writing that a biometric identifier or
                                                            biometric information is being collected or stored; (2) informs the
                                                            subject . . . in writing of the specific purpose and length of term for
                                                            which a biometric identifier or biometric information is being collected,
                                                            stored, and used; and (3) receives a written release executed by the
                                                            subject of the biometric identifier or biometric information . . . .49



                                                   45
                                                        740 ILCS 14/20(4).
                                                   46
                                                        740 ILCS 14/20(2).
                                                   47
                                                        740 ILCS 14/20(1).
                                                   48
                                                        740 ILCS 14/20(3).
                                                   49
                                                        740 ILCS 14/15(b).

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                                                   65.      The written release required by § 15(b)(3) means “informed written consent.”50

                                                   66.      As detailed in paragraphs 27-29 above, Patronscan systematically collected,
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                                            stored, and used Plaintiff’s and Class Members’ biometric identifiers and information without

                                            providing the notice required by § 15(b)—including notice that their biometric data was being

                                            used for the specific purpose of cross-checking their face against their identification, third-

                                            party databases, and Patronscan’s “flagged” database.

                                                   67.      Likewise, Patronscan never obtained from Plaintiff’s or Class Members the

                                            informed written consent required by BIPA.

                                                   68.      By improperly collecting, storing, and using Plaintiff’s and Class Members’

                                            biometric identifiers and information, Patronscan violated their rights to privacy in their

                                            biometric data.

                                                   69.      On behalf of herself and the Class, Plaintiff seeks:

                                                            (a) injunctive and equitable relief as is necessary to protect the interests
                                                                of Plaintiff and the Class by requiring Patronscan to comply with
                                                                § 15(b)’s requirement for collecting, storing, and using biometric
                                                                identifiers and information;51

                                                            (b) the greater of liquidated damages of $5,000 or actual damages for
                                                                each of Patronscan’s intentional or reckless violations of § 15(b);52

                                                            (c) the greater of liquidated damages of $1,000 or actual damages for
                                                                each of Patronscan’s negligent violations of § 15(b);53 and

                                                            (d) reasonable attorneys’ fees and costs and other litigation expenses.54




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                                                        740 ILCS 14/10.
                                                   51
                                                        740 ILCS 14/20(4).
                                                   52
                                                        740 ILCS 14/20(2).
                                                   53
                                                        740 ILCS 14/20(1).
                                                   54
                                                        740 ILCS 14/20(3).

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                                                    Claim 3: Violation of Section 15(c) of Illinois’s Biometric Information Privacy
                                                         Act (740 ILCS 14/15(c)) by Profiting from Biometric Identifiers or
                                                                Biometric Information Obtained Through Patronscan
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                                                   70.      Plaintiff repeats and incorporates by reference all preceding paragraphs and

                                            allegations.

                                                   71.      Section 15(c) of BIPA makes it unlawful for any “private entity in possession

                                            of a biometric identifier or biometric information” to “sell, lease, trade, or otherwise profit

                                            from a person’s or a customer’s biometric identifier or biometric information.”55

                                                   72.      As detailed in paragraphs 43-44 above, Patronscan had possession of Plaintiff’s

                                            and Class Members’ biometric identifiers and information and, without informing them,

                                            profited from their biometric identifiers and information by using that biometric data to make

                                            its “flagged” and V.I.P. patron database more robust, which the company marketed and sold

                                            to businesses in Illinois.

                                                   73.      By profiting from its undisclosed use of Plaintiff’s and Class Members’

                                            biometric identifiers and information, Patronscan violated the substantive privacy interests

                                            that BIPA protects.

                                                   74.      On behalf of herself and the Class, Plaintiff seeks:

                                                            (a) injunctive and equitable relief as is necessary to protect the interests
                                                                of Plaintiffs and the Class by requiring Patronscan to cease profiting
                                                                from the use of their biometric identifiers and information;56

                                                            (b) the greater of liquidated damages of $5,000 or actual damages for
                                                                each of Patronscan’s intentional or reckless violations of § 15(c);57




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                                                        740 ILCS 14/15(c).
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                                                        740 ILCS 14/20(4).
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                                                        740 ILCS 14/20(2).

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                                                            (c) the greater of liquidated damages of $1,000 or actual damages for
                                                                each of Patronscan’s negligent violations of § 15(c);58 and
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                                                            (d) reasonable attorneys’ fees and costs and other litigation expenses.59

                                                    Claim 4: Violation of Section 15(d) of Illinois’s Biometric Information Privacy
                                                      Act (740 ILCS 14/15(d)) by Disclosing Biometric Identifiers or Biometric
                                                   Information Obtained Through Patronscan Without Written Informed Consent

                                                   75.       Plaintiff repeats and incorporates by reference all preceding paragraphs and

                                            allegations.

                                                   76.      Section 15(d) of BIPA makes it unlawful to:

                                                            Disclose, redisclose, or otherwise disseminate a person’s or a customer’s
                                                            biometric identifier or biometric information unless: (1) the subject. . . consents
                                                            to the disclosure or redisclosure. . . (4) the disclosure is issued pursuant to a
                                                            valid warrant or subpoena issued by a court of competent jurisdiction.

                                                   77.      As explained in detail in paragraphs 30 to 39, Patronscan regularly discloses

                                            and rediscloses patrons’ biometric identifiers and information, without their consent, to third-

                                            party databases, Patronscan’s customer business, that businesses’ staff, subcontracted security

                                            personnel, and law enforcement, without a warrant or subpoena.

                                                   78.      By sharing Plaintiff’s biometric identifiers and information, Patronscan

                                            violated the substantive privacy interests that BIPA protects.

                                                   79.      On behalf of herself and the Class, Plaintiff seeks:

                                                            (a) injunctive and equitable relief as is necessary to protect the interests
                                                                of Plaintiffs and the Class by requiring Patronscan to cease disclose
                                                                and redisclose their biometric identifiers and information without
                                                                consent or a valid warrant or subpoena;60




                                                   58
                                                        740 ILCS 14/20(1).
                                                   59
                                                        740 ILCS 14/20(3).
                                                   60
                                                        740 ILCS 14/20(4).

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                                                            (b) the greater of liquidated damages of $5,000 or actual damages for
                                                                each of Patronscan’s intentional or reckless violations of § 15(d);61
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                                                            (c) the greater of liquidated damages of $1,000 or actual damages for
                                                                each of Patronscan’s negligent violations of § 15(d);62 and

                                                            (d) reasonable attorneys’ fees and costs and other litigation expenses.63

                                                                             VIII. PRAYER FOR RELIEF

                                                   80.      Wherefore, on behalf of herself and the Class, Plaintiff respectfully requests that

                                            this Court enter an Order:

                                                                   a. Certifying this case as a class action under Federal Rule of Civil
                                                                      Procedure 23(a), (b)(2), and (b)(3) on behalf of the Class defined
                                                                      above, appointing Plaintiff Erica Norman as representative of the
                                                                      Class, and appointing their counsel as Class Counsel;

                                                                   b. Declaring that Patronscan’s actions, as set out above, violate § 15(a),
                                                                      (b), (c), and (d) of BIPA;

                                                                   c. Awarding the greater of actual damages or statutory damages of
                                                                      $5,000 per intentional or reckless violation of BIPA, and the greater
                                                                      of actual or statutory damages of $1,000 per negligent violation of
                                                                      BIPA;

                                                                   d. Awarding injunctive and other equitable relief as is necessary to
                                                                      protect the interests of the Class, including, among other things, an
                                                                      order requiring Patronscan to collect, store, and use biometric
                                                                      identifiers in complaint with BIPA;

                                                                   e. Awarding Plaintiff and the Class their reasonable litigation expenses
                                                                      and attorney’s fees;

                                                                   f. Awarding Plaintiff and the Class pre-and post-judgment interest, to
                                                                      the extent allowable; and

                                                                   g. Awarding such other and further relief as equity and justice may
                                                                      require.



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                                                        740 ILCS 14/20(2).
                                                   62
                                                        740 ILCS 14/20(1).
                                                   63
                                                        740 ILCS 14/20(3).

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                                                                           XI.    JURY DEMAND
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                                                  81.   Plaintiff and Class Members demand a trial by jury on all issues so triable.



                                            Dated: March 24, 2023                                  /s/ Kenneth A. Wexler

                                                                                                   Kenneth A. Wexler
                                                                                                   Justin N. Boley
                                                                                                   Eaghan S. Davis
                                                                                                   WEXLER BOLEY & ELGERSMA LLP
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                                                                                                   New York, NY 10038
                                                                                                   Tel: (212) 931-0704
                                                                                                   klandau@tcllaw.com

                                                                                                   Attorneys for Plaintiff and the Proposed
                                                                                                   Class




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                                                                                  VERIFICATION

                                                   Under penalties as provided by law pursuant to 735 ILCS 5/1-109 of the Code of Civil
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                                            Procedure, the undersigned certifies that the statements set forth in this instrument are true

                                            and correct, except as to matters therein stated to be on information and belief and as to such

                                            matters the undersigned certifies as aforesaid that he verily believes the same to be true.

                                                                                                       /s/ Kenneth A. Wexler
                                                                                                       WEXLER BOLEY & ELGERSMA
                                                                                                       311 S. Wacker Drive, Suite 5450
                                                                                                       Chicago, Illinois, 60606
                                                                                                       Firm ID No: 99616




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                                                                                                                                                                                        CIRCUIT CLERK
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                                                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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                                                                                                                  DEPARTMENT/_____ DISTRICT


                                            Erica Norman, individually and on behalf of all others similarly situated,                        2023CH02874
                                                                                                                                     Case No. ________________
                                                                                                                         Plaintiff
                                                                                        v.                                           Claimed $: _______________

                                            Servall Biometrics d/b/a Patronscan, Inc.
                                                                                                                                     Return Date: ___________ Time: __________

                                                                                                                     Defendant       Court Date: ___________ Room No.: _____________


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                                                                                                       APPEARANCE AND JURY DEMAND *
                                                 General Appearance                          0900 - Fee Paid                                                                    0904 - Fee Waived
                                                                                             0908 - Trial Lawyers Appearance - No Fee
                                            ✔    Jury Demand *                               1900 - Appearance and Jury Demand/Fee Paid                                          Twelve-person Jury
                                                                                        ✔    1904 - Appearance and Jury Demand/No Fee Paid                                       Six-person Jury
                                            The undersigned enters the appearance of:                    Plaintiff          Defendant

                                            Litigant’s Name: ______________________________________

                                             Signature: V _______________________________________
                                                  Initial Counsel of Record                      Pro Se (Self-represented)                    2810 Rule 707 Out-of-State Counsel
                                                                                                                                              (pro hac vice)
                                            ✔    Additional Appearance                           Substitute Appearance

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                                                Atty. No.: ___________________                     Pro Se 99500                                                     IMPORTANT
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                                            Name: Justin N. Boley
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                                            Atty. for (if applicable):
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                                            Plaintiff - Erica Norman                                                                  DQGIRUPRUHLQIRUPDWLRQ

                                            Address: Wexler Boley & Elgersma; 311 S. Wacker Dr., Suite 5450
                                                                                                                                     Pro Se Only:
                                            City: Chicago                                                                               ,KDYHUHDGDQGDJUHHWRWKHWHUPVRI &OHUN·V2IÀFH
                                                                                                                                        Electronic Notice Policy and choose to opt in to electronic
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                                            State: ____             60606
                                                               Zip: ________        (312) 346-2222
                                                                             Phone: _____________________                               QRWLFHIURPWKH&OHUN·VRIÀFHIRUWKLVFDVHDWWKLVHPDLODGGUHVV

                                            Primary Email: jnb@wbe-llp.com                                           Email: alc@wbe-llp.com
                                            * Strike demand for trial by jury if not applicable.
                                            I certify that a copy of the within instrument was served on all parties who have appeared and have not heretofore been found by the
                                            Court to be in default for failure to plead.
                                                                                                                                       Justin N. Boley
                                                                                                                                   V ______________________________________
                                                                                                                                         Attorney for      Plaintiff     Defendant
                                                                               ,ULV<0DUWLQH], Clerk of the Circuit Court of Cook County, Illinois
                                                                                                    cookcountyclerkofcourt.org
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                                            Appearance and Jury Demand *                                                                                                                  () CCG 0009
                                                                                             IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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                                                                                                                  DEPARTMENT/_____ DISTRICT


                                            Erica Norman, individually and on behalf of all others similarly situated,                        2023CH02874
                                                                                                                                     Case No. ________________
                                                                                                                         Plaintiff
                                                                                        v.                                           Claimed $: _______________

                                            Servall Biometrics d/b/a Patronscan, Inc.
                                                                                                                                     Return Date: ___________ Time: __________

                                                                                                                     Defendant       Court Date: ___________ Room No.: _____________


                                                                                                                                                        Address of Court District for Filing
                                                                                                       APPEARANCE AND JURY DEMAND *
                                                 General Appearance                          0900 - Fee Paid                                                                    0904 - Fee Waived
                                                                                             0908 - Trial Lawyers Appearance - No Fee
                                            ✔    Jury Demand *                               1900 - Appearance and Jury Demand/Fee Paid                                          Twelve-person Jury
                                                                                        ✔    1904 - Appearance and Jury Demand/No Fee Paid                                       Six-person Jury
                                            The undersigned enters the appearance of:                    Plaintiff          Defendant

                                            Litigant’s Name: ______________________________________

                                             Signature: V _______________________________________
                                                  Initial Counsel of Record                      Pro Se (Self-represented)                    2810 Rule 707 Out-of-State Counsel
                                                                                                                                              (pro hac vice)
                                            ✔    Additional Appearance                           Substitute Appearance

                                                           99616
                                                Atty. No.: ___________________                     Pro Se 99500                                                     IMPORTANT
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                                            Name: Eaghan S. Davis
                                                                                                                                      DOORWKHUSDUWLHVQDPHGLQWKLVFDVH RUWRWKHLUDWWRUQLHV XVLQJHLWKHUUHJXODU
                                            Atty. for (if applicable):
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                                            Plaintiff - Erica Norman                                                                  DQGIRUPRUHLQIRUPDWLRQ

                                            Address: Wexler Boley & Elgersma; 311 S. Wacker Dr., Suite 5450
                                                                                                                                     Pro Se Only:
                                            City: Chicago                                                                               ,KDYHUHDGDQGDJUHHWRWKHWHUPVRI &OHUN·V2IÀFH
                                                                                                                                        Electronic Notice Policy and choose to opt in to electronic
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                                                                             Phone: _____________________                               QRWLFHIURPWKH&OHUN·VRIÀFHIRUWKLVFDVHDWWKLVHPDLODGGUHVV

                                            Primary Email: esd@wbe-llp.com                                           Email: yr@wbe-llp.com
                                            * Strike demand for trial by jury if not applicable.
                                            I certify that a copy of the within instrument was served on all parties who have appeared and have not heretofore been found by the
                                            Court to be in default for failure to plead.
                                                                                                                                       Eaghan S. Davis
                                                                                                                                   V ______________________________________
                                                                                                                                         Attorney for      Plaintiff     Defendant
                                                                               ,ULV<0DUWLQH], Clerk of the Circuit Court of Cook County, Illinois
                                                                                                    cookcountyclerkofcourt.org
                                                                                                                               Page 1 of 1
                               Case:
            Hearing Date: No hearing   1:23-cv-04015
                                     scheduled                         Document #: 1-5 Filed: 06/23/23 Page 31 of 230 PageID #:91
            Location: <<CourtRoomNumber>>
            Judge: Calendar, 3
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                                                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         IRIS Y. MARTINEZ
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                                                                                                                                  COOK COUNTY, IL
FILED DATE: 3/24/2023 3:49 PM 2023CH02874




                                                                                                                                  2023CH02874
                                                                                                                                  Calendar, 3
                                             ERICA NORMAN, on behalf of himself and                                               22017547
                                             all others similarly situated,                         Case No. 2023CH02874

                                                                Plaintiff,                          CLASS ACTION
                                                    v.
                                                                                                    JURY TRIAL DEMANDED
                                             SERVALL BIOMETRICS D/B/A
                                             PATRONSCAN, INC.

                                                                Defendants.



                                                                                RULE 222(b) AFFIDAVIT

                                                   Pursuant to Illinois Supreme Court Rule 222(b), the undersigned advises that this matter

                                            seeks more than $50,000.00 in damages. Under penalties as provided by law pursuant to 735

                                            ILCS 5/1-109, the undersigned certifies that the statements set forth in this instrument are true

                                            and correct.

                                            Dated: March 24, 2023                                        /s/ Kenneth A. Wexler
                                                                                                         Kenneth A. Wexler
                                                                                                         Justin N. Boley
                                                                                                         Eaghan S. Davis
                                                                                                         WEXLER BOLEY & ELGERSMA LLP
                                                                                                         311 S. Wacker Drive, Suite 5450
                                                                                                         Chicago, Illinois, 60606
                                                                                                         Tel: (312) 346-2222
                                                                                                         Fax: (312) 346-0022
                                                                                                         kaw@wbe-llp.com
                                                                                                         jnb@wbe-llp.com
                                                                                                         esd@wbe-llp.com
                                                                                                         Firm ID No: 99616

                                                                                                         Ryan F. Stephan
                                                                                                         James B. Zouras
                                                                                                         Catherine Mitchell
                                                                                                         STEPHAN ZOURAS
                                                                                                         222 W. Adams St., Suite 2020
                                            Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 32 of 230 PageID #:92




                                                                                            Chicago, Illinois, 60606
                                                                                            Tel: (312) 233-1550
                                                                                            Fax: (312) 233-1560
FILED DATE: 3/24/2023 3:49 PM 2023CH02874




                                                                                            rstephan@stephanzouras.com
                                                                                            jzouras@stephaszouras.com
                                                                                            cmitchell@stephanzouras.com

                                                                                            Kevin Landau
                                                                                            TAUS, CEBULAS & LANDAU LLP
                                                                                            123 William Street, Suite 1900A
                                                                                            New York, NY 10038
                                                                                            Tel: (212) 931-0704
                                                                                            klandau@tcllaw.com

                                                                                            Attorneys for Plaintiff and the
                                                                                            Proposed Class
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                                                Cook                   COUNTY                                                                                 IRIS Y. MARTINEZ
                                                                                                                                                              CIRCUIT CLERK
                                               Instructions                                                                                                  COOK COUNTY, IL
FILED DATE: 3/24/2023 4:00 PM 2023CH02874




                                            Enter above the county      Erica Norman                                                                          2023CH02874
                                            name where the case         Plaintiff / Petitioner (First, middle, last name)                                     Calendar, 3
                                            was filed.                                                                                                        22017947
                                                                                          System Generated Hearing Date: 7/24/2023 9:30
                                                                                                                                   9:3
                                                                                                                                     30 AM
                                            Enter your name as                            Location: Court Room 2402
                                            Plaintiff/Petitioner.       v.                Judge: Price Walker, Allen
                                            Enter the names of all
                                            people you are suing as    Servall Biometrics d\b\a Patronscan                                       2023CH02874
                                            Defendants/                 Defendant / Respondent (First, middle, last name)                         Case Number
                                            Respondents.

                                            Enter the Case Number
                                            given by the Circuit        F Alias Summons (Check this box if this is not the 1st
                                            Clerk.                      Summons issued for this Defendant.)

                                                                      There may be court fees to start or respond to a case. If you are unable to pay your court fees, you can apply
                                                                      for a fee waiver. You can find the fee waiver application at: illinoiscourts.gov/documents-and-
                                                                      forms/approved-forms/.
                                                                      E-filing is now mandatory with limited exemptions. To e-file, you must first create an account with an e-
                                                                      filing service provider. Visit efile.illinoiscourts.gov/service-providers.htm to learn more and to select a
                                               IMPORTANT              service provider. If you need additional help or have trouble e-filing, visit illinoiscourts.gov/faq/gethelp.asp
                                             INFORMATION:             or talk with your local circuit clerk’s office. If you cannot e-file, you may be able to get an exemption that
                                                                      allows you to file in-person or by mail. Ask your circuit clerk for more information or visit
                                                                      illinoislegalaid.org.
                                                                      Call or text Illinois Court Help at 833-411-1121 for information about how to go to court including how to
                                                                      fill out and file forms. You can also get free legal information and legal referrals at illinoislegalaid.org.
                                                                      Do not use this form in an eviction, small claims, detinue, divorce, or replevin case. Use the Eviction
                                                                      Summons, Small Claims Summons, or Summons Petition for Dissolution of Marriage / Civil Union available
                                                                      at illinoiscourts.gov/documents-and-forms/approved-forms. If your case is a detinue or replevin, visit
                                            Plaintiff/Petitioner:     illinoislegalaid.org for help.
                                                                      If you are suing more than 1 Defendant/Respondent, fill out a Summons form for each
                                                                      Defendant/Respondent.

                                            In 1a, enter the name        1.     Defendant/Respondent's address and service information:
                                            and address of a                    a. Defendant/Respondent's primary address/information for service:
                                            Defendant/
                                            Respondent. If you are                  Name (First, Middle, Last): Servall Biometrics d\b\a Patronscan
                                            serving a Registered                    Registered Agent’s name, if any:
                                            Agent, include the
                                            Registered Agent’s                      Street Address, Unit #: 370, 5222 130 Ave SE
                                            name and address here.                  City, State, ZIP: Calgary, Alberta, T2Z 0G4
                                                                                    Telephone: (877) 778-9798              Email: support@patronscan.com
                                            In 1b, enter a second               b.   If you have more than one address where Defendant/Respondent might be found,
                                            address for Defendant/
                                            Respondent, if you
                                                                                     list that here:
                                            have one.                                Name (First, Middle, Last): Servall Biometrics d\b\a Patronscan, C/o Jessica Asinari
                                                                                     Street Address, Unit #: 155 Wooded Vine Drive
                                                                                     City, State, ZIP: Winter Springs, Florida, 32708-0039
                                            In 1c, check how you                     Telephone: (877) 778-9798               Email: support@patronscan.com
                                            are sending your
                                            documents to
                                                                                c.   Method of service on Defendant/Respondent:
                                            Defendant/                               F Sheriff             ✔ Sheriff outside Illinois:
                                                                                                           F                                     Calgary, Alberta / Seminole Cty FL
                                            Respondent.                                                                                           County & State
                                                                                     F Special process server                    F Licensed private detective



                                            SU-S 1503.2                                                      Page 1 of 4                                                          (06/21)
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                                            In 2, enter the amount       2.     Information about the lawsuit:
                                            of money owed to you.
                                                                                Amount claimed: $ 100,000,000
                                            In 3, enter your
                                            complete address,            3.     Contact information for the Plaintiff/Petitioner:
                                            telephone number, and               Name (First, Middle, Last): Justin Boley (Counsel for Erica Norman)
                                            email address, if you
                                                                                Street Address, Unit #: 311 S. Wacker Drive, Suite 5450
FILED DATE: 3/24/2023 4:00 PM 2023CH02874




                                            have one.
                                                                                City, State, ZIP: Chicago, Illinois, 60606
                                                                                Telephone: (312) 346-2222                Email: JNB@wbe-llp.com

                                            GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                            every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.

                                                 Important            You have been sued. Read all of the documents attached to this Summons.
                                            information for the       To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
                                             person getting this      the case without hearing from you and you could lose the case. Appearance and Answer/Response forms can
                                                   form               be found at: illinoiscourts.gov/documents-and-forms/approved-forms/.

                                            Check 4a or 4b. If           4.    Instructions for person receiving this Summons (Defendant):
                                            Defendant/Respondent
                                                                         F
                                                                         ✔     a. To respond to this Summons, you must file Appearance and Answer/Response
                                            only needs to file an
                                            Appearance and                          forms with the court within 30 days after you have been served (not counting the day
                                            Answer/Response                         of service) by e-filing or at:
                                            within 30 days, check
                                            box 4a. Otherwise, if                   Address: Richard J Daley Center, 50 W Washington Street
                                            the clerk gives you a                   City, State, ZIP: Chicago, Illinois, 60602
                                            court date, check box
                                            4b.
                                                                         F     b.   Attend court:
                                            In 4a, fill out the                     On:                                 at                        F a.m. F p.m. in
                                            address of the court                             Date                              Time                                         Courtroom
                                            building where the
                                                                                    In-person at:
                                            Defendant may file or
                                            e-file their
                                            Appearance and                          Courthouse Address                  City                                    State             ZIP
                                            Answer/ Response.                       OR
                                            In 4b, fill out:                        Remotely (You may be able to attend this court date by phone or video conference.
                                            xThe court date and
                                             time the clerk gave                    This is called a “Remote Appearance”):
                                             you.                                         By telephone:
                                            xThe courtroom and                                                 Call-in number for telephone remote appearance
                                             address of the court                          By video conference:
                                             building.
                                                                                                                        Video conference website
                                            xThe call-in or video
                                             information for
                                             remote appearances                            Video conference log-in information (meeting ID, password, etc.)
                                             (if applicable).
                                            xThe clerk’s phone                      Call the Circuit Clerk at:                                                  or visit their website
                                             number and website.                                                    Circuit Clerk’s phone number
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                                            is available from the                   at:                                                         to find out more about how to do this.
                                            Circuit Clerk.                                  Website




                                                      STOP!              Witness this Date:                                                                                     Seal
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                                                    STOP!
                                            The officer or process       This Summons must be served within 30 days of the witness date.
                                            server will fill in the
                                            Date of Service.             Date of Service:
                                                                                                (Date to be entered by an officer or process server on the copy of this Summons left
                                                                                                with the Defendant or other person.)

                                            SU-S 1503.2                                                        Page 2 of 4                                                               (06/21)
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                                                      STATE OF ILLINOIS,
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                                                                                                       SUMMONS AND
                                                Cook                      COUNTY                     COMPLAINT/PETITION

                                                 Instructions
FILED DATE: 3/24/2023 4:00 PM 2023CH02874




                                             Enter above the
                                             county name where             Erica Norman
                                             the case was filed.            Plaintiff / Petitioner (First, middle, last name)
                                             Enter your name as
                                             Plaintiff/Petitioner.
                                             Enter the names of all         v.
                                             people you are suing
                                             as Defendants/                Servall Biometrics d\b\a Patronscan
                                             Respondents.
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                                             Enter the Case                                                                                     2023CH02874
                                             Number given by the            F Alias Summons (Check this box if this is not the 1st               Case Number
                                             Circuit Clerk.                 Summons issued for this Defendant.)

                                                           **Stop. Do not complete the form. The sheriff or special process server will fill in the form.**

                                                 My name is                                                                     and I state
                                                                      First, Middle, Last
                                                 F I served the Summons and Complaint/Petition on the Defendant/Respondent
                                                                                                                                              as follows:
                                                 First, Middle, Last

                                                        F Personally on the Defendant/Respondent:
                                                          Male F Female F Non-Binary              F                     Approx. Age:           Race:
                                                              On this date:                                at this time:               F a.m. F p.m.
                                                              Address, Unit#:
                                                              City, State, ZIP:

                                                        F On someone else at the Defendant/Respondent’s home who is at least 13 years old and is a family
                                                          member or lives there:
                                                          On this date:                     at this time:               F a.m. F p.m.
                                                              Address, Unit#:
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                                                              And left it with:
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                                                          and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                                          above address on                     , 20            .
                                                        F On the Corporation’s agent,
                                                                                                   First, Middle, Last

                                                              Male     F Female             F    Non-Binary F Approx. Age:                     Race:
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                                            SU-S 1503.2                                                          Page 3 of 4                                             (06/21)
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                                                                                                                                 Clerk:_________________________________
                                                 F I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

                                                 First, Middle, Last

                                                 I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

                                                 1.    On this date:                            at this time:                  F a.m. F p.m.
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                                                       Address:
                                                       City, State, ZIP:
                                                       Other information about service attempt:




                                                 2.    On this date:                            at this time:                  F a.m. F p.m.
                                                       Address:
                                                       City, State, ZIP:
                                                       Other information about service attempt:




                                                 3.    On this date:                            at this time:                  F a.m. F p.m.
                                                       Address:
                                                       City, State, ZIP:
                                                       Other information about service attempt:




                                             DO NOT complete
                                             .
                                                                       If you are a special process server, sheriff outside Illinois, or licensed private detective,
                                             this section. The
                                                                       your signature certifies that everything on the Proof of Service of Summons is true and
                                             sheriff or private
                                             process server will       correct to the best of your knowledge. You understand that making a false statement on
                                             complete it.              this form could be perjury.

                                                                       By:                                             FEES
                                             Under the Code of                                                         Service and Return:    $
                                             Civil Procedure, 735                      F Sheriff
                                                                       Signature by:                                   Miles                  $
                                             ILCS 5/1-109,
                                             making a statement                        F Sheriff outside Illinois:     Total                  $ 0.00
                                             on this form that you
                                             know to be false is
                                             perjury, a Class 3                            County and State
                                             Felony.                                   F Special process server
                                                                                       F Licensed private
                                                                                         detective

                                                                       Print Name


                                                                       If Summons is served by licensed private detective or private detective agency:
                                                                       License Number:




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                                            Print Form                                                Save Form                                          Reset Form
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            Hearing Date: No hearing   1:23-cv-04015
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                                                                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                  IRIS Y. MARTINEZ
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                                                                                                                               Calendar, 3
                                             ERICA NORMAN, individually and on behalf                                          22018768
                                             of all others similarly situated,

                                                                          Plaintiffs,
                                                                                                   Case No. 2023CH02874
                                             v.

                                             SERVALL BIOMETRICS D/B/A
                                             PATRONSCAN, Inc.

                                                                          Defendants.


                                                  PLAINTIFF’S MOTION FOR CLASS CERTIFICATION AND REQUEST FOR
                                                               DISCOVERY ON CERTIFICATION ISSUES

                                                    Plaintiff Erica Norman (“Norman” or “Plaintiff”) alleges that Defendant Servall

                                            Biometrics d/b/a Patronscan, Inc. (“Patronscan” or “Defendant”) systematically violated the

                                            Biometric Information Privacy Act (“BIPA”) 740 ILCS § 14/1, et seq. Consistent with the

                                            rulings of federal and state courts overseeing BIPA actions, this case is well suited for class

                                            certification under 735 ILCS § 5/2-801. See Alvarado v. International Laser Prod., Inc., Case No.

                                            18 C 7756 (N.D. Ill. June 19, 2019), attached as Exhibit A; Roberson v. Symphony Post Acute

                                            Care, Case No. 17-L-733 (Cir. Ct. St. Clair County, Mar. 12, 2019) (granting class certification

                                            when the case involved a single statutory scheme – BIPA – and the primary issues were

                                            whether defendant captured biometric information and, if so, did they comply with BIPA

                                            while doing so) (attached as Exhibit B) modified, in part, on other grounds by 2019 IL App (5th)

                                            190144-U (Nov. 2, 2019); Morris v. Wow Bao LLC, et al., Case No. 17 CH 12029 (Cir. Ct. Cook

                                            Cty. Dec. 14, 2021), attached as Exhibit C; Rogers v. BNSF Railway Co., Case No. 19 C 3083

                                            (N.D. Ill. Mar. 22, 2022), attached as Exhibit D; see also In re Facebook Biometric Info. Privacy
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                                            Litig., 326 F.R.D. 535, 542 (N.D. Cal. 2018), aff’d sub nom. Patel v. Facebook, Inc., 932 F.3d

                                            1264, 1277 (9th Cir. Aug. 8, 2019) (holding, in a BIPA case, that “a class action is superior to
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                                            individual actions”); and Palacios v. H & M Hennes & Mauritz, LP, Case No. 18 CH 16030 (Cir.

                                            Ct. Cook Cty Dec. Mar. 16, 2023) (certifying Class Representative where Class

                                            Representative understood the basic facts of his case and that “he is making a legal claim for

                                            violation of his biometric privacy rights on behalf of a class”).

                                                   Specifically, Plaintiff seeks to certify a class consisting of thousands of individuals who

                                            had their facial geometry data unlawfully collected, captured, received, obtained, maintained,

                                            stored or disclosed by Defendant during the applicable statutory period in violation of BIPA.

                                            The question of liability is a legal question that can be answered in one fell swoop. As

                                            Plaintiff’s claims and the claims of similarly-situated individuals all arise from Defendant’s

                                            uniform policies and practices, they satisfy the requirement of 735 ILCS § 5/2-801 and should

                                            be certified.

                                                   Plaintiff moves for class certification to protect members of the proposed class,

                                            individuals whose proprietary and legally protected personal and private biometric data were

                                            invaded by Defendant. Plaintiff believes that the evidence and argument submitted within this

                                            motion are sufficient to allow the class to be certified now. However, in the event the Court

                                            (or Defendant) wishes for the parties to undertake formal discovery prior to the Court’s

                                            consideration of this motion, Plaintiff requests that the Court allow her to supplement this

                                            briefing and defer the response and reply deadlines.




                                                                                            2
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                                                                         I.    RELEVANT BACKGROUND

                                                   A.     The Biometric Information Privacy Act
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                                                   Major national corporations started using Chicago and other locations in Illinois in

                                            the early 2000s to test “new [consumer] applications of biometric-facilitated financial

                                            transactions, including finger-scan technologies at grocery stores, gas stations, and school

                                            cafeterias.” 740 ILCS § 14/5(c). Given its relative infancy, an overwhelming portion of the

                                            public became wary of this then-growing, yet unregulated, technology. See 740 ILCS § 14/5.

                                                   The Biometric Information Privacy Act, 740 ILCS § 14/1, et seq., was enacted in 2008,

                                            arising from concerns that these experimental uses of finger-scan technologies created a “very

                                            serious need of protections for the citizens of Illinois when it comes to biometric information.”

                                            Illinois House Transcript, 2008 Reg. Sess. No. 276. Under the Act, it is unlawful for a private

                                            entity to, among other things, “collect, capture, purchase, receive through trade, or otherwise

                                            obtain a person’s or a customer’s biometric identifiers or biometric information unless it first:

                                                   (1)    Informs the subject … in writing that a biometric identifier or biometric
                                                          information is being collected or stored;

                                                   (2)    Informs the subject … in writing of the specific purpose and length of
                                                          term for which a biometric identifier or biometric information is being
                                                          collected, stored, and used; and

                                                    (3)   Receives a written release executed by the subject of the biometric
                                                          identifier or biometric information.”

                                            740 ILCS § 14/15(b).

                                                   Although there may be benefits to using biometrics, there are also serious risks. Facial

                                            geometry is a unique, permanent biometric identifier associated with each individual. These

                                            biometrics are biologically unique to the individual; once compromised, the individual has no

                                            means by which to prevent identity theft, unauthorized tracking, or other unlawful or


                                                                                           3
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                                            improper use of this information. This exposes individuals to serious and irreversible privacy

                                            risks. For example, if a biometric database is hacked, breached, or otherwise exposed – as in
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                                            the recent Equifax, Home Depot, Google+ and Facebook/Cambridge Analytica data

                                            breaches – individuals have no means to prevent the misappropriation and theft of their

                                            proprietary biometric makeup.

                                                   A showing of actual damages is not necessary in order to state a claim under BIPA.

                                            When an entity “fails to adhere to the statutory procedures … the right of the individual to

                                            maintain [his or] her biometric privacy vanishes into thin air.” Rosenbach v. Six Flags Ent. Corp.,

                                            2019 IL 123186, ¶ 34 (internal quotations omitted) (quoting Patel v. Facebook Inc., 290 F. Supp.

                                            3d 948, 953 (N.D. Cal. 2018)). See also Patel v. Facebook Inc., 932 F.3d 1264, 1275 (9th Cir.

                                            2019) (“Because we conclude that BIPA protects the plaintiffs’ concrete privacy interests and

                                            violations of the procedures in BIPA actually harm or pose a material risk of harm to those

                                            privacy interests … the plaintiffs have alleged a concrete and particularized harm, sufficient

                                            to confer Article III standing.”). Thus, recognizing the need to protect its citizens from harms

                                            like these, Illinois enacted BIPA specifically to regulate the collection, use, safeguarding,

                                            handling, storage, retention, and destruction of biometric identifiers and information.

                                                   B.      Factual Allegations

                                                   Plaintiff filed this class action against Defendant on March 24, 2023, to redress

                                            Defendant’s alleged unlawful collection, use, storage, and disclosure of thousands of

                                            individuals’ biometric data under BIPA. In her Complaint, Plaintiff provided detailed

                                            allegations that, when attending a concert in January 2023, Defendant’s device took a photo

                                            of her and her driver’s license and then performed a scan of her facial geometry, capturing

                                            thousands of data points and pixels, which it then stored and shared for its own profit. Compl.


                                                                                            4
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                                            ¶¶ 1-2, 5, 23, 30, 43-44. Members of the putative class were similarly treated. Id. 23-28. Prior

                                            to this collection Defendant did not first: (1) develop and adhere to a proper publicly available
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                                            retention schedule or guidelines for permanent destruction of the biometric data by

                                            Defendant, as required by BIPA; (2) inform Plaintiff and the putative Class in writing of the

                                            purpose(s) and length of time for which facial geometry data is being collected, stored, and

                                            used by Defendant; (3) provide Plaintiff and the Class (nor did they execute) a fully-compliant

                                            written release for Defendant in order to collect, store, or use their facial geometry, as required

                                            by BIPA; or (4) ask for consent before disclosing, redisclosing, or otherwise disseminating

                                            their facial geometrics to a third party, as required by BIPA. Id. ¶¶ 2-7, 23-30, 40-44.

                                                   Plaintiff Erica Norman attended a concert at Bourbon Division in Wicker Park,

                                            Chicago on January 13, 2023. Id. ¶¶ 1, 23. Upon entry to the venue, she was required to give

                                            her driver’s license to a bouncer and to have her photograph taken. Id. ¶ 23. Both her license

                                            and photograph were entered into a Patronscan portal, after which point Patronscan, through

                                            its software, scanned Ms. Norman’s photograph to collect her facial geometry. Id. ¶¶ 23-25.

                                                   Defendant failed to inform Plaintiff and other patrons of the extent and purposes for

                                            which it collected individuals’ sensitive biometric data or to whom the data is disclosed. Id.

                                            ¶¶ 3, 23, 27-29, 40-41. Defendant failed to develop and adhere to a proper written, publicly

                                            available policy identifying its retention schedule and guidelines for permanently destroying

                                            individuals’ geometric facial data, including Plaintiff’s, when the initial purpose for collecting

                                            or obtaining their biometric data is no longer relevant, as required by BIPA. Id. ¶¶ 11-12, 40-

                                            42.. Patronscan discloses Plaintiff’s and others’ biometric data to third parties, and

                                            Defendant’s patrons, including Plaintiff, are not told what might happen to their biometric

                                            data if and when Defendant merges with another company or, worse, if and when


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                                            Defendant’s entire business folds. Id. ¶¶ 12, 36. Patronscan profits from—and builds a

                                            business on—its improper practices. Id. ¶¶ 43-44.
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                                                   Since Defendant neither published a proper BIPA-mandated data retention policy nor

                                            disclosed the purposes for its collection of biometric data, Defendant’s patrons, including

                                            Plaintiff, have no idea to whom Defendant sells, discloses, re-discloses, or otherwise

                                            disseminates their biometric data. Id. ¶¶ 12, 36. Nor are patrons told at the time of collection

                                            to whom Defendant discloses their biometric data or what might happen to their biometric

                                            data in the event of a merger or a bankruptcy. Id. Finally, Defendant failed to secure a

                                            compliant written release from its patrons, including Plaintiff, permitting it to collect, store,

                                            use, and disseminate patrons’ biometric data, as required by BIPA. Id. ¶¶ 27-29.

                                                   Accordingly, Defendant’s practices violated BIPA. As a result of Defendant’s

                                            violations, Plaintiff and similarly-situated individuals were subject to Defendant’s common

                                            and uniform policies and practices and were victims of its scheme to unlawfully collect, store,

                                            use, and disseminate Plaintiff’s and all other similarly-situated individuals’ biometric data in

                                            direct violation of BIPA. As a result of Defendant’s multiple violations of BIPA, Plaintiff and

                                            all other similarly-situated individuals suffered an invasion of privacy and other damages.

                                                   Plaintiff now seeks class certification for the following similarly-situated individuals,

                                            defined as:

                                                   All persons who had their biometric identifiers or information collected,
                                                   captured, received, otherwise obtained, used, or stored in Illinois by
                                                   Defendant during the Class Period.

                                                   Given Defendant’s standard practices outlined above and the straightforward and

                                            common legal questions presented in this case, Plaintiff now moves for class certification.

                                            Notably, this motion is being filed shortly after the Complaint was filed and before Defendant


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                                            has responded. The parties have not discussed settlement, neither settlement offers nor

                                            demands have been made, and a scheduling order has not been issued. For the reasons
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                                            discussed herein, Plaintiff’s request should be granted.

                                                                 II.   STANDARD FOR CLASS CERTIFICATION

                                                     “The basic purpose of a class action is the efficiency and economy of litigation.” CE

                                            Design Ltd. v. C & T Pizza, Inc., 2015 IL App (1st) 131465, ¶ 9 (citing Miner v. Gillette Co., 87

                                            Ill.2d 7, 14 (1981)). “In determining whether to certify a proposed class, the trial court accepts

                                            the allegations of the complaint as true and should err in favor of maintaining class

                                            certification.” CE Design Ltd., 2015 IL App (1st) 131465, ¶ 9 (citing Ramirez v. Midway Moving

                                            & Storage, Inc., 378 Ill. App. 3d 51, 53 (1st Dist. 2007)). Under Section 2-801 of the Code of

                                            Civil Procedure, a class may be certified if the following four requirements are met:

                                                     (1)    the class is so numerous that a joinder of all members is impracticable;

                                                     (2)    there are questions of fact or law common to the class that predominate
                                            over
                                                            any questions affecting only individual members;

                                                     (3)    the representative parties will fairly and adequately protect the interest
                                            of                     the class; and

                                                      (4)   the class action is an appropriate method for the fair and efficient
                                                                    adjudication of the controversy.

                                            See Smith v. Illinois Cent. R.R. Co., 223 Ill.2d 441, 447 (2006) (citing 735 ILCS § 5/2-801).

                                            Notably, “[a] trial court has broad discretion in determining whether a proposed class meets

                                            the requirements for class certification.” CE Design Ltd., 2015 IL App (1st) 131465, ¶ 9 (citing

                                            Ramirez, 378 Ill. App. 3d at 53). Here, the allegations and facts in this case amply demonstrate

                                            that the four certification factors are met.




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                                                                                 III.   ARGUMENT

                                                   Plaintiff’s claims here are especially suited for class certification because Defendant
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                                            treated patrons identically for the purposes of applying BIPA. All of the putative class

                                            members in this case were uniformly subjected to the same illegal and unlawful collection,

                                            storage, use, and dissemination of their biometric data that was required as a condition of

                                            employment throughout the class period. Plaintiff meets each of the statutory requirements

                                            for maintenance of this suit as a class action. Thus, the class action device is ideally suited

                                            and is far superior to burdening the Court with many individual lawsuits to address the same

                                            issues, undertake the same discovery, and rely on the same testimony.

                                                   A.      The Class Is So Numerous That Joinder of All Members Is Impracticable.

                                                   Numerosity is not dependent on a plaintiff setting forth a precise number of class

                                            members or a listing of their names. See Cruz v. Unilock Chicago, 383 Ill. App. 3d 752, 771 (2d

                                            Dist. 2008) (“Of course, plaintiffs need not demonstrate a precise figure for the class size,

                                            because a good-faith, non-speculative estimate will suffice; rather, plaintiffs need demonstrate

                                            only that the class is sufficiently numerous to make joinder of all of the members

                                            impracticable.”) (internal citations omitted); Hayna v. Arby’s, Inc., 99 Ill. App. 3d 700, 710-11

                                            (1st Dist. 1981) (“It is not necessary that the class representative name the specific individuals

                                            who are possibly members of the class.”). Courts in Illinois generally find numerosity when

                                            the class is comprised of at least 40 members. See Wood River Area Dev. Corp. v. Germania Fed.

                                            Sav. Loan Ass’n, 198 Ill. App. 3d 445, 450 (5th Dist. 1990).

                                                   In the present case, there can be no serious dispute that Plaintiff meets the numerosity

                                            requirement. The class of potentially thousands of plaintiffs is sufficiently large to make




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                                            joinder impracticable.1 Plaintiff and all similarly-situated individuals were subjected to

                                            Defendant’s common and uniform policies and practices and were victims of Defendant’s
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                                            schemes to unlawfully collect, store, use, and disseminate their extremely personal and private

                                            biometric data in direct violation of BIPA. As a result of Defendant’s violations of the Act,

                                            Plaintiff and all other similarly-situated individuals suffered an infringement of the rights

                                            afforded them under the law. Rosenbach, 2019 IL 123186, ¶ 38.

                                                    The precise number in the class cannot be determined until discovery records are

                                            obtained from Defendant. Nevertheless, class membership can be easily determined by

                                            reviewing Defendant’s records. A review of Defendant’s files regarding the collection,

                                            storage, use, and dissemination of its patrons’ biometric data performed during the class

                                            period is all that is needed to determine membership in Plaintiff’s proposed class. See e.g.,

                                            Chultem v. Ticor Title Ins. Co., 401 Ill. App. 3d 226, 233 (1st Dist. 2010) (reversing Circuit

                                            Court’s denial of class certification and holding that class was certifiable over defendant’s

                                            objection that “the proposed class was not ascertainable, because the process of reviewing

                                            defendant’s transaction files to determine class membership would be burdensome”); Young

                                            v. Nationwide Mut. Ins. Co., 693 F.3d 532, 539-40 (6th Cir. 2012)2 (rejecting the argument that

                                            manual review of files should defeat certification, agreeing with district court’s reasoning that,

                                            if manual review was a bar, “defendants against whom claims of wrongful conduct have been

                                            made could escape class-wide review due solely to the size of their businesses or the manner



                                                    1
                                                     Upon information and belief, the total number of putative class members is well in the thousands.
                                            Compl. ¶ 26.
                                                    2
                                                      “Section 2-801 is patterned after Rule 23 of the Federal Rules of Civil Procedure and, because of
                                            this close relationship between the state and federal provision, ‘federal decisions interpreting Rule 23 are
                                            persuasive authority with regard to questions of class certification in Illinois.’” Cruz, 383 Ill. App. 3d at
                                            761 (quoting Avery v. State Farm Mutual Automobile Insurance Co., 216 Ill.2d 100, 125 (2005)).

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                                            in which their business records were maintained,” and citing numerous courts that are in

                                            agreement, including Perez v. First Am. Title Ins. Co., 2009 WL 2486003, at *7 (D. Ariz. Aug.
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                                            12, 2009) (“Even if it takes a substantial amount of time to review files and determine who is

                                            eligible for the [denied] discount, that work can be done through discovery”)). Once

                                            Defendant’s records are obtained, the Court will know the precise number of persons affected.

                                                   Absent certification of this class action, Defendant’s patrons may never know that their

                                            legal rights have been violated, and as a result, may never obtain the redress to which they are

                                            entitled under BIPA. Illinois courts have noted that denial of class certification where

                                            members of the putative class have no knowledge of the lawsuit may be the “equivalent of

                                            closing the door of justice” on the victims. Wood River Area Dev. Corp. v. Germania Fed. Sav. &

                                            Loan Assn., 198 Ill. App. 3d 445, 452 (5th Dist. 1990). Further, recognizing the need to protect

                                            its citizens from harms such as identity theft, Illinois enacted BIPA specifically to regulate the

                                            collection, use, safeguarding, handling, storage, retention, and destruction of biometric

                                            identifiers and information. A class action would help ensure that Plaintiff and all other

                                            similarly-situated individuals have a means of redress against Defendant for its widespread

                                            violations of BIPA.

                                                   B.      Common Questions Of Law And Fact Exist That Predominate Over Any
                                                           Questions Solely Affecting Individual Members Of The Class.

                                                   Courts analyze commonality and predominance under Section 2-801 by identifying

                                            the substantive issues that will control the outcome of the case. See Bemis v. Safeco Ins. Co. of

                                            Am., 407 Ill. App. 3d 1164, 1167 (5th Dist. 2011); Cruz, 383 Ill. App. 3d at 773. The question

                                            then becomes whether those issues will predominate and whether they are common to the

                                            class, meaning that “favorable adjudication of the claims of the named plaintiffs will establish

                                            a right of recovery in other class members.” Cruz, 383 Ill. App. 3d at 773. As stated by the

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                                            Court of Appeals, the question is will “common … issues be the subject of the majority of the

                                            efforts of the litigants and the court[?]” Bemis, 407 Ill. App. 3d at 1168. The answer here is
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                                            “yes.”

                                                     At the heart of this litigation is Defendant’s culpable conduct under BIPA. The issues

                                            are simple and straightforward legal questions that plainly lend themselves to class-wide

                                            resolution. Notwithstanding the clear and unequivocal requirements of the law, Defendant

                                            disregarded Plaintiff’s and other similarly-situated individuals’ statutorily-protected privacy

                                            rights and unlawfully collected, stored, used, and disseminated their biometric data in direct

                                            violation of BIPA. Specifically, Defendant has violated BIPA because it failed to: (1) inform

                                            Plaintiff and putative class members in writing of the purpose and length of time for which

                                            their facial geometry were being collected, stored, disseminated and used prior to harvesting

                                            their biometric data; (2) develop and adhere to a proper, publicly available retention schedule

                                            or guidelines for permanent destruction of the biometric data; and (3) provide Plaintiff and

                                            putative class members a fully-compliant written release prior to harvesting their biometric

                                            data. Defendant furthermore has: (4) profited from its improper activities and (5) disclosed

                                            patrons’ biometric identifiers and information to third parties without consent. Defendant

                                            treats the entire proposed class in precisely the same manner, resulting in identical violations

                                            of BIPA. These common practices create common issues of law and fact. In fact, the legality

                                            of Defendant’s collection, storage, use, and dissemination of Plaintiff’s and the putative class’s

                                            biometric data is the focus of this litigation.

                                                     Indeed, once this Court determines whether Defendant’s practices of collecting,

                                            storing, using and disseminating individuals’ biometric data without adhering to the specific

                                            requirements


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                                            of BIPA constitutes violations thereof, liability for the claims of class members will be

                                            determined in one stroke. The material facts and issues of law are substantially the same for
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                                            the members of the class, and therefore these common issues could be tried such that proof as

                                            to one claimant could be proof as to all members of the class. This alone establishes

                                            predominance. The only remaining questions will be the proper measure of damages and

                                            injunctive relief, which in and of themselves are questions common to the class. A showing

                                            of actual damages is not necessary in order to state a claim under BIPA. See Rosenbach, 2019

                                            IL 123186, ¶ 40 (“[A]n individual need not allege some actual injury or adverse effect, beyond

                                            violation of his or her rights under the Act, in order to qualify as an ‘aggrieved’ person and be

                                            entitled to seek liquidated damages and injunctive relief pursuant to the Act”). Accordingly,

                                            a favorable adjudication of the Plaintiff’s claims in this case will establish a right of recovery

                                            to all other class members, and thus the commonality and predominance requirements weigh

                                            in favor of certification of the class.

                                                   C.      The Named Plaintiff And Class Counsel Are Adequate Representatives Of
                                                           The Class.

                                                   When evaluating adequacy, courts look to whether the named plaintiff has the same

                                            interests as those of the class and whether he or she will fairly represent them. See CE Design

                                            Ltd., 2015 IL App (1st) 131465, ¶ 16. In this case, Plaintiff’s interest arises from statute. The

                                            class representative, Erica Norman, is a member of the proposed class and will fairly and

                                            adequately protect the class’s interests. Plaintiff was required to undergo a facial geometry

                                            scan. Defendant subsequently stored Plaintiff’s facial geometric data in its database(s). Prior

                                            to the collection of her biometric identifiers and/or biometric information, Plaintiff was not

                                            informed of the specific limited purposes (if any) or length of time for which Defendant

                                            collected, stored, used, or disseminated her biometric data. Nor is Plaintiff aware of a proper

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                                            biometric data retention policy developed by Defendant or when, if ever, Defendant will

                                            permanently delete her facial geometric information. Finally, Plaintiff was not provided a
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                                            written release allowing Defendant to collect, store, use, or disseminate her facial geometric

                                            data. Thus, Plaintiff was a victim of the same uniform policies and practices of Defendant as

                                            the individuals she seeks to represent and is not seeking any relief that is potentially

                                            antagonistic to other members of the class. What is more, Plaintiff has the interests of those

                                            class members in mind, as demonstrated by her willingness to sue on a class-wide basis and

                                            step forward as the class representative, which subjects her to discovery. (See Exhibit E –

                                            Affidavit of Erica Norman). This qualifies her as a conscientious representative plaintiff and

                                            satisfies the adequacy of representation requirement.

                                                   Proposed Class Counsel, Stephan Zouras, LLP; Wexler Boley & Elgersma; and Taus,

                                            Cebulas & Landau LLP, will also fairly and adequately represent the class. Proposed Class

                                            Counsel are highly qualified and experienced attorneys. (See Exhibit F – Affidavit of Ryan F.

                                            Stephan and the Firm Resume attached thereto as Exhibit F-1). Stephan Zouras, LLP, Wexler

                                            Boley & Elgersma, and Taus Cebulas & Landau LLP are recognized attorneys in complex

                                            class action lawsuits and have been designated as class counsel in numerous class actions in

                                            state and federal courts, including pioneering efforts in antitrust matters and on behalf of

                                            classes of employees whose rights under BIPA were violated. (See Exhibit F, Exhibit F-1

                                            (Stephan Zouras); Exhibit G, Exhibit G-1 – Affidavit of Kenneth A. Wexler and the Firm

                                            Resume attached thereto as Exhibit G-1; Exhibit H, Exhibit H-1 – Affidavit of Kevin Landau

                                            and the Firm Resume attached thereto as Exhibit H-1). Thus, proposed Class Counsel, too,

                                            are adequate and have the ability and resources to manage this lawsuit.




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                                                   D.      A Class Action Is The Appropriate Method For Fair And Efficient
                                                           Adjudication Of This Controversy.
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                                                   Finally, a class action is the most appropriate method for the fair and efficient

                                            adjudication of this controversy, rather than bringing individual suits which could result in

                                            inconsistent determinations and unjust results. “It is proper to allow a class action where a

                                            defendant is alleged to have acted wrongfully in the same basic manner toward an entire

                                            class.” P.J.’s Concrete Pumping Serv., Inc. v. Nextel West Corp., 345 Ill. App. 3d 992, 1003 (2d

                                            Dist. 2004). “The purported class representative must establish that a successful adjudication

                                            of its individual claims will establish a right of recovery or resolve a central issue on behalf of

                                            the class members.” Id.

                                                   Here, Plaintiff’s claims stem from Defendant’s common and uniform policies and

                                            practices, resulting in common violations of BIPA for all members of the class. Thus, class

                                            certification will obviate the need for unduly duplicative litigation that might result in

                                            inconsistent judgments concerning Defendant’s practices. Wenthold v. AT&T Technologies, Inc.,

                                            142 Ill. App. 3d 612 (1st Dist. 1986). Without a class, the Court would have to hear dozens,

                                            if not thousands, of additional individual cases raising identical questions of liability.

                                            Moreover, class members are better served by pooling resources rather than attempting to

                                            litigate individually. CE Design Ltd., 2015 IL App (1st) 131465, ¶¶ 28-30 (certifying TCPA

                                            class where statutory damages were alleged and rejecting arguments that individual lawsuits

                                            would be superior). In the interests of justice and judicial efficiency, it is desirable to

                                            concentrate the litigation of all class members’ claims in a single forum. For all these reasons,

                                            the class action is the most appropriate mechanism to adjudicate the claims in this case.




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                                                   E.      In The Event The Court Or Defendant Seek More Factual Information
                                                           Regarding This Motion, The Court Should Allow Supplemental And
                                                           Deferred Briefing Following Discovery.
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                                                   There is no meaningful need for discovery for the Court to certify a class in this matter;

                                            Defendant’s practices and policies are uniform. If, however, the Court wishes for the Parties

                                            to engage in discovery, the Court should keep the instant motion pending during the discovery

                                            period, allow Plaintiff a supplemental brief, and defer Defendant’s response and Plaintiff’s

                                            reply. Plaintiff is moving as early as possible for class certification in part to avoid the “buy-

                                            off problem,” which occurs when a defendant seeks to settle with a class representative on

                                            individual terms in an effort to moot the class claims asserted by the class representative.

                                            Plaintiff is also moving for class certification now because the class should be certified, and

                                            because no meaningful discovery is necessary to establish that fact. The instant motion is far

                                            more than a placeholder or barebones memorandum. Rather, Plaintiff’s full arguments are

                                            set forth based on the facts alleged at this extremely early stage of litigation. Should the Court

                                            wish for more detailed factual information, the briefing schedule should be extended.

                                                                                IV.    CONCLUSION

                                                   For the reasons stated above, Plaintiff respectfully requests that the Court enter an

                                            Order: (1) certifying Plaintiff’s claims as a class action; (2) appointing Plaintiff Erica Norman

                                            as Class Representative; (3) appointing Stephan Zouras, LLP; Wexler Boley & Elgersma; and

                                            Taus, Cebulas & Landau LLP as Class Counsel; and (4) authorizing court-facilitated notice

                                            of this class action to the class. In the alternative, this Court should allow discovery, allow

                                            Plaintiff to supplement this briefing, and defer response and reply briefs.




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                                            Dated: March 24, 2023                             /s/ Kenneth A. Wexler

                                                                                              Kenneth A. Wexler
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                                                                                              Class




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                                                                                  VERIFICATION

                                                   Under penalties as provided by law pursuant to 735 ILCS 5/1-109 of the Code of Civil
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                                            Procedure, the undersigned certifies that the statements set forth in this instrument are true

                                            and correct, except as to matters therein stated to be on information and belief and as to such

                                            matters the undersigned certifies as aforesaid that he verily believes the same to be true.

                                                                                                       /s/ Kenneth A. Wexler
                                                                                                       WEXLER BOLEY & ELGERSMA
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                                                                                                       Chicago, Illinois, 60606
                                                                                                       Firm ID No: 99616




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                                                                               CERTIFICATE OF SERVICE

                                                   I, Kenneth Wexler, hereby certify that on March 24, 2023, I electronically filed
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                                            Plaintiff’s Motion For Class Certification And Request For Discovery On Certification Issues

                                            with the Clerk of the Court using the electronic filing system which will send such filing to all

                                            attorneys of record.

                                                                                                       /s/ Kenneth A. Wexler
                                                                                                       WEXLER BOLEY & ELGERSMA
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                                                                                                       Chicago, Illinois, 60606
                                                                                                       Firm ID No: 99616




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                                                    0F;CHNC@@ *IMO? !FP;L;>I @CF?> NBCM F;QMOCN ;FF?ACHA NB;N BCM ?GJFIS?LM $?@?H>;HNM
                                            )HN?LH;NCIH;F ,;M?L 0LI>O=NM )H= ;H> )HN?LH;NCIH;F 3IH?L #ILJ PCIF;N?> NB? &;CL ,;<IL
                                            2N;H>;L>M !=N ;H> NB? -CHCGOG 6;A? ,;Q <S @;CFCHA NI J;S IP?LNCG? Q;A?M ;N NB? L;N? I@ IH?
                                            ;H> IH?B;F@ NCG?M !FP;L;>IVM MNL;CABN J;S L;N? (? M??EM NI L?JL?M?HN ; =F;MM I@ QILE?LM QBI
                                            Q?L? ;FMI ;FF?A?>FS PC=NCGM I@ NBCM JL;=NC=?

                                                    3B? @I=OM I@ NB? J;LNC?MV >CM;AL??G?HN IH NBCM CMMO? L?F;N?M NI NB? F;HAO;A? I@ NB? =F;MM
                                            HINC=? 3B? =IOLN B;M L?PC?Q?> NB? =IGJ?NCHA JLIJIM;FM ;H> LOF?M ;M @IFFIQM

                                                           0F;CHNC@@MV JLIJIM?> =F;MM HINC=? <?ACHM QCNB ;H ;FF=;JM HINC=? NB;N L?=CJC?HNM ;L?
                                            ?FCAC<F? NI J;LNC=CJ;N? CH NB? F;QMOCN ?P?H C@ NB?S B;> JL?PCIOMFS MCAH?> ; M?NNF?G?HN ;AL??G?HN
                                            NB;N $?@?H>;HNM JLIJIM?> ;H> H?AINC;N?> QCNB M?P?L;F QILE?LM 3B? F;HAO;A? I@ NB? =F;MM HINC=?
                                            ?H>M QCNB NB? QIL>M W3(% 2%33,%-%.3 $/#4-%.3 7/4 2)'.%$ )2 5/)$ !.$ 3(%
                                            ,!624)3 2%%+2 3/ 1%#/5%1 -/1% -/.%7 3(!. 3(% #/-0!.7 /&&%1%$ 7/4X
                                            $?@?H>;HNM I<D?=N NI NBCM F;HAO;A? $?@?H>;HNM =IHN?H> NB;N NB? =IOLN B;M LOF?> NB;N NB?
                                            ;AL??G?HNM ?HN?L?> CHNI ;L? WHIN ?H@IL=?;<F?X ;M MN;N?> CH J;L;AL;JB  I@ NB? #F;MM .INC=? HIN
                                            NB;N NB?S Q?L? WPIC>X $?@?H>;HNMV -?GIL;H>OG CH /JJIMCNCIH NI 0F;CHNC@@VM -INCIH NI !ONBILCT?
                                            .INC=? 89 8B?L?CH;@N?L W$?@MV /JJX9 ;N  $?@?H>;HNM ;FMI ;LAO? QCNBION ?F;<IL;NCIH NB;N
                                            NB?L? CM HI W;JJF? NI ;JJF? =IGJ;LCMIHX <?NQ??H QB;N NB? F;QMOCN CM M??ECHA ;H> NB? L?FC?@ I@@?L?>
                                            ?GJFIS??M CH NB? JLIJIM?> M?NNF?G?HN ;AL??G?HN ) 6CNBION =IGG?HNCHA IH NB? G?LCNM I@
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                                            L?;> ;M @IFFIQM 3(% 2%33,%-%.3 $/#4-%.3 7/4 2)'.%$ )2 ./3 %.&/1#%!",% !.$
                                            3(% ,!624)3 2%%+2 3/ 1%#/5%1 #/-0%.2!3)/. !2 $%2#1)"%$ ). 3()2 ./3)#%

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                                            PCIF;NCIHM I@ NB? "CIG?NLC= )H@ILG;NCIH 0LCP;=S !=N W")0!X $?@?H>;HNM HIN? NB;N NB? =IGJF;CHN
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                                            >?@CH?> NB;N =F;MM ;M W0LI>O=NCIH ,;<IL?LM ;H> INB?L BIOLFS J;C> QILE?LM ?GJFIS?> CH )FFCHICM <S
                                            $?@?H>;HNM QBI Q?L? L?KOCL?> NI M=;H NB?CL @CHA?LJLCHNM CH $?@?H>;HNMV NCG?E??JCHA MSMN?GX
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                                            =IHNL;MN >?@CH?M NB? =F;MM ;M W!FF J?LMIHM QBI QILE?> @IL $?@?H>;HNM CH )FFCHICM MCH=? .IP?G<?L
                                              ;H> QBI M=;HH?> NB?CL @CHA?LJLCHNM CH $?@?H>;HNMV NCG?E??JCHA MSMN?G QCNBION @CLMN
                                            ?R?=ONCHA ; QLCNN?H L?F?;M?X 0F;CHNC@@M =IHN?H> NB;N NB? L?PCM?> >?@CHCNCIH CM 2&553:*5 NB;H NB?
                                            ILCACH;F ;N F?;MN NI NB? ?RN?HN NB;N CN CGJIM?M ; NCG? FCGCN ;H> ?R=FO>?M J?LMIHM C@ ;HS QBI
                                            ?R?=ON?> ; L?F?;M? 0F;CHNC@@MV 1?JFS CH 2OJJILN I@ -INCIH @IL #F;MM .INC=? 89 8B?L?CH;@N?L
                                            W0FN@MV 1?JFSX9 ;N  0F;CHNC@@M B;P? ;FMI =CN?> =;M?F;Q BIF>CHA NB;N ;G?H>G?HNM NI NB? =F;MM
                                            >?@CHCNCIH ;L? ;==?JN;<F? MI FIHA ;M NB?S >I HIN WAL?;NFS ?RJ;H>X NB? M=IJ? I@ NB? FCNCA;NCIH <?SIH>
                                            QB;N $?@?H>;HNM GCABN B;P? ?RJ?=N?> 314&5* *&732 9 !4**)< !3+7:&5*  &> 
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                                            I@ NB? =F;MMX 3B? =IOLN B;M HI CH@ILG;NCIH ;<ION BIQ G;HS GIL? ?GJFIS??M GCABN <? CH=FO>?>
                                            CH NB? H?Q >?@CHCNCIH NB;N CM H?CNB?L MC>? B;M ?RJF;CH?> QB?NB?L NB?L? ;L? ; HOG<?L I@ ?GJFIS??M
                                            INB?L NB;H WJLI>O=NCIH F;<IL?LM ;H> INB?L BIOLFS J;C> QILE?LMX QBI Q?L? L?KOCL?> NI M=;H NB?CL
                                            @CHA?LJLCHNM )@ NB? =F;MM >?@CHCNCIH CM CH @;=N MCAHC@C=;HNFS <LI;>?L NB;H QB;N $?@?H>;HNM =IOF> B;P?
                                            ;HNC=CJ;N?> QB?H NBCM =;M? Q;M CHCNC;N?> NB? =IOLN QIOF> ?RJ?=N $?@?H>;HNM NI JLIPC>? NB;N
                                            CH@ILG;NCIH 3BCM I<D?=NCIH CM IP?LLOF?>

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                                            CM NI CH@ILG NB? ?GJFIS?? I@ ; =IFF?=NCP? ;=NCIH F;QMOCN CH QBC=B MB? CM JIN?HNC;FFS UMCGCF;LFS
                                            MCNO;N?>VX $?@MV /JJ ;N  3B? =IOLN >CM;AL??M NB;N CH@ILGCHA ?GJFIS??M CM NB? JOLJIM? I@ NB?
                                            F;QMOCN 3B;N G;S <? NB? JOLJIM? I@ 0F;CHNC@@MV JLIJIM?> HINC=? <ON OMCHA NB? ?RJL?MMCIH WMCGCF;LFS
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                                            JOLJIM? =;H <? M?LP?> <S G;ECHA NB? @IFFIQCHA =B;HA? NI NB? HINC=? @ILG )H NB? @IOLNB @OFF
                                            J;L;AL;JB I@ NB? JLIJIM?> HINC=? <?ACHHCHA QCNB NB? QIL>M W3B? F;QMOCN M??EM NI L?=IP?L IQ?>
                                            IP?LNCG? Q;A?M @IL ?GJFIS??M JFOM ;>>CNCIH;F >;G;A?MX NB? HINC=? MBIOF> L?;> W)@ 0F;CHNC@@M
                                            JL?P;CF CH NBCM F;QMOCN ?GJFIS??M QCFF <? ?HNCNF?> NI L?=IP?L OHJ;C> IP?LNCG? Q;A?M JFOM ;>>CNCIH;F
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                                            =IMNM C@ NB?S >I HIN JL?P;CF $?@MV /JJ ;N  0F;CHNC@@M IJJIM? NBCM JLIJIM;F 3B?S =CN?
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                                            ?RJL?MM?> L?FO=N;H=? NI =BCFF NB? LCABNM I@ QILE?LM NI J;LNC=CJ;N? CH ; =IFF?=NCP? ;=NCIH <S G?;HM I@
                                            ; Q;LHCHA NB;N NB?S =IOF> <? L?KOCL?> NI MCN @IL NB?CL >?JIMCNCIHM IL ?P?H J;S IJJIMCHA =IOHM?F
                                            @??M 0FN@MV 1?JFS ;N  3BCM =IOLN >??G?> NBIM? LCMEM NII L?GIN? NI L?KOCL? CH=FOMCIH CH ; HINC=?
                                            3B? CMMO? CH NBCM =;M? CM QB?NB?L NB? JIMMC<CFCNS I@ ;H ;Q;L> I@ =IMNM CM ?KO;FFS L?GIN?

                                                    $?@?H>;HNM B;P? =CN?> ; B;H>@OF I@ =;M?M CH QBC=B =IOLNM B;P? ?H>ILM?> NB? CH=FOMCIH I@
                                            ; HINC=? I@ NBCM JIMMC<CFCNS 6** *, 82/*0 9 %&55.35 2*5,< !*596 2(  &1$  
                                             6$ 0;  >C=N;NCHA CH=FOMCIH I@ ; M?P?L;FM?HN?H=? FIHA >CM=FIMOL? I@ JIMMC<F? FC;<CFCNS @IL
                                            =IMNM %5.,-7 9 *-.,- $&00*< 364 *&07- *7:35/ .I =P  6,  ;N 
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                                            =IOLN =IMNM 5*7*2 .00*5 9 %*670&/* &5):&5* 2(  6,  ;N  $ +;H *OFS 
                                             GI>C@SCHA HINC=? NI CH=FO>? W)@ SIO >I HIN JL?P;CF IH SIOL =F;CG =IOLN =IMNM ;H> ?RJ?HM?M

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                                            G;S JIMMC<FS <? ;MM?MM?> ;A;CHMN SIOX &5(.& 9 0.7* &'35 !*59 7) .I  #  
                                            6,  ;N  .$ )FF *OFS   GI>C@SCHA HINC=? NI CH=FO>? MN;N?G?HN NB;N WC@ SIO >I
                                            HIN JL?P;CF IH SIOL =F;CG =IOLN =IMNM ;H> ?RJ?HM?M G;S JIMMC<FS <? ;MM?MM?> ;A;CHMN SIOX
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                                             @CH>CHA ; HINC=? >?@?=NCP? <?=;OM? CN >C> HIN @OFFS CH@ILG L?=CJC?HNM ;<ION =IHM?KO?H=?M I@
                                            IJNCHA CH CH=FO>CHA JIN?HNC;F FC;<CFCNS @IL =IMNM ;H> ?RJ?HM?M

                                                    )H L?;=BCHA CNM =IH=FOMCIH NB? 5*7*2 .00*5 =IOLN =;FF?> MO=B ;H ;Q;L> W=F?;LFS JIMMC<F?
                                            ;H> 89 HIN G?L?FS NB?IL?NC=;FX .IH? I@ NB? =;M?M CN =CN?> @IL NBCM =IH=FOMCIH ;L? @LIG NBCM #CL=OCN
                                            ;H> CN CM HIN =F?;L NB;N MO=B ;H ;Q;L> B;M <??H G;>? CH ; =IFF?=NCP? ;=NCIH B?L? 5*7*2 .00*5
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                                            J;LNC=CJ;HNM QBI GIP?> NI >CMGCMM NB?CL =F;CGM 31*= 9 *.2/* .I #5YY2Y,-" 
                                            6,  ;N  $ )>;BI !OA  ;Q;L>CHA =IMNM NI >?@?H>;HNM @IL JL?P;CFCHA IH G?LCNM
                                            I@ =F;MM ;=NCIH =F;CGM *<*6 9 "*; ;4&:2  .I 5YY  6,  ;N 
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                                            6,  ;N  3B? =IOLN NB?L?@IL? L?G;CHM =IH=?LH?> NB;N NB? NLO? JOLJIM? @IL CH=FOMCIH I@
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                                            =;M?F;Q BIQ?P?L NB? =IOLN =IH=FO>?M CN CM ;JJLIJLC;N? NI ;G?H> NB? F;HAO;A? OH>?L KO?MNCIH 
                                            CH NB? HINC=? NI JLIPC>? MIG? CH@ILG;NCIH W=IH=?LHCHA NB? =IMN CMMO? QCNBION ACPCHA CN OH>O?
                                            ?GJB;MCMX *-1*01&2 9 *22 &7 &1.2, 2(  & 2OJJ >   .$ )FF 
                                            3BCM =IOLN >CL?=NM NB;N NB? M?=IH> M?HN?H=? I@ NB;N JLIPCMCIH <? ;G?H>?> NI L?;> W)@ SIO
                                            J;LNC=CJ;N? CH NBCM F;QMOCN ;H> NB? ?GJFIS??M FIM? SIO QCFF <? <IOH> <S NB? ION=IG? I@ NBCM F;QMOCN
                                            ;H> QCFF HIN L?=?CP? ;HS GIH?S ;H> CN CM JIMMC<F? NB;N ; JILNCIH I@ NB? =IOLN =IMNM QIOF> <?
                                            ;MM?MM?> ;A;CHMN SIO CH NB;N ?P?HNX

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                                            @CLMN=F;MM G;CF #IGGOHC=;NCIH PC; N?RN G?MM;A? IL ?G;CF $?@?H>;HNM =IHN?H> CM WOHQ;LL;HN?>
                                            ;H> MOM=?JNC<F? NI ;<OM?X $?@MV /JJ ;N  $?@?H>;HNM ;FMI I<D?=N NI HINC=? <S Q;S I@ ; JIMNCHA
                                            ;N NB? QILEJF;=? <ON 0F;CHNC@@M B;P? HIN L?KO?MN?> MO=B ; JLI=?MM $?@MV /JJ ;N  0FN@MV 1?JFS
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                                            <CLNB>;N?M MI NB? =IOLN H??> HIN ;>>L?MM $?@?H>;HNMV I<D?=NCIH NI MO=B JLI>O=NCIH $?@MV /JJ
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                                                     3B? =IOLN ;AL??M QCNB 0F;CHNC@@M NB;N ?G;CF ;H> N?RN =IGGOHC=;NCIH CM NB? GIMN
                                            MNL;CABN@ILQ;L> ;H> ?@@?=NCP? G?NBI> I@ =IGGOHC=;NCHA QCNB NB? JIN?HNC;F =F;MM G?G<?LM !M
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                                            0F;CHNC@@M W#IOLNM B;P? L?=IAHCT?> NB;N HINC=? <S ?G;CF ;H> N?RN CM L?;MIH;<F? CH NI>;S M GI<CF?
                                            MI=C?NS ;H> NB;N NB?M? G?NBI>M I@ =IGGOHC=;NCIH G;S I@@?L ; GIL? L?FC;<F? G?;HM I@ L?;=BCHA
                                            ;H CH>CPC>O;F ?P?H C@ NB;N CH>CPC>O;F CM ;Q;S @LIG BIG? IL B;M GIP?>X 3I NB;N ?H> NB? =IOLN
                                            >CL?=NM JLI>O=NCIH <S $?@?H>;HNM I@ ?GJFIS?? N?F?JBIH? HOG<?LM ;H> ;HS EHIQH ?G;CF
                                            ;>>L?MM?M ;H> ;ONBILCT?M IH? L?GCH>?L HINC=? !** 307.2,-386*  & 2OJJ > ;N 
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                                             CM >CMJ;N=B?> <S 0F;CHNC@@MV ?RJF;H;NCIH NB;N ?G;CF QIOF> CH=FO>? ; J>@ P?LMCIH I@ NB? HINC=?
                                            ;H> N?RN G?MM;A?M QCFF >CL?=N NB? L?=CJC?HN NI Q?<MCN? NB;N CH=FO>?M NB? @ILG HINC=? 0FN@MV 1?JFS
                                            ;N  )H ;HS ?P?HN $?@?H>;HNM NB?GM?FP?M MBIOF> B;P? ?@@?=NCP? G?;HM I@ >?N?LGCHCHA QB?NB?L
                                            J?LMIHM QBI ;NN?GJN NI IJN CH ;L? IL B;P? <??H ?GJFIS?> <S $?@?H>;HNM




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                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                               COUNTY DEPARTMENT, CHANCERY DIVISION
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                                            ERICA NORMAN, individually, and                )
                                            on behalf of all others similarly situated,    )
                                                                                           )
                                                                  Plaintiff,               )
                                                                                           )             Case No.
                                                   v.                                      )
                                                                                           )
                                            SERVALL BIOMETRICS D/B/A                       )
                                            PATRONSCAN, INC.,                              )
                                                                                           )
                                                                  Defendant.


                                                                         AFFIDAVIT OF ERICA NORMAN

                                                   I, Erica Norman, being first duly cautioned, swear, and affirm as follows:

                                               1. I am over the age of 18 and competent to testify.

                                               2. I am the Named Plaintiff and proposed Class Representatives in this case.

                                               3. I understand what it means to be a class representative. As a class representative, I am
                                                  looking out for the interests of the other class members.

                                               4. I do not have any conflicts with the class members because they were treated like I was
                                                  with respect to this lawsuit. I have their interests in mind, as well as my own, in bringing
                                                  this lawsuit.


                                            FURTHER YOUR AFFIANT SAYETH NOT.



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                                                                                                Erica Norman
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                                                         IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                             COUNTY DEPARTMENT, CHANCERY DIVISION
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                                             ERICA NORMAN, individually,                         )
                                             and on behalf of all others similarly situated,     )
                                                                                                 )
                                                                    Plaintiff,                   )
                                                                                                 )     Case No.
                                                    v.                                           )
                                                                                                 )
                                             SERVALL BIOMETRICS D/B/A                            )
                                             PATRONSCAN, INC.,                                   )
                                                                                                 )
                                                                    Defendant.


                                                                      AFFIDAVIT OF RYAN F. STEPHAN

                                                    I, Ryan Stephan, being first duly cautioned, swears and affirms as follows:

                                                 1. I am one of P-$,/5,));4 06/4(- ,/ 5+( $%07(-referenced matter.

                                                 2. I submit this Affidavit in support of Plaintiff;s Motion for Class Certification and
                                                    Request for Discovery on Certification Issues.

                                                 3. I am an Partner of the law firm of Stephan Zouras, LLP. Attached hereto as
                                                    Exhibit 1 is a true and correct copy of the ),3.;4 resume.


                                             FURTHER YOUR AFFIANT SAYETH NOT.


                                             Date: March 17, 2023                                        _/s/ Ryan F. Stephan
                                                                                                         Ryan F. Stephan
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                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                     COUNTY DEPARTMENT, CHANCERY DIVISION
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                                              ERICA NORMAN, individually and on behalf
                                              of all others similarly situated,

                                                                              Plaintiffs,
                                                                                                     Docket No. _____
                                              v.
                                                                                                     Hon. ___________
                                              SERVALL BIOMETRICS D/B/A PATRONSCAN,
                                              Inc.                                                   Calendar ________

                                                                              Defendants.


                                                                     AFFIDAVIT OF KENNETH A. WEXLER

                                                      I, Kenneth A. Wexler, being first duly cautioned, swear and affirm as follows:

                                                   1. I am one of Plaintiffs’ Counsel in the above-referenced matter.

                                                   2. I submit this Affidavit in support of Plaintiffs’ Motion for Class Certification and
                                                      Request for Discovery on Certification Issues.

                                                   3. I am the founding and managing partner of the law firm Wexler Boley & Elgersma
                                                      LLP. Attached hereto as Exhibit 1 is a true and correct copy of the firm’s résumé.


                                             FURTHER YOUR AFFIANT SAYETH NOT.


                                             Date: March 21, 2023
                                                                                                           /s/ Kenneth A. Wexler
                                                                                                           Kenneth A. Wexler
                                                                                                           WEXLER BOLEY & ELGERSMA
                                                                                                           311 S. Wacker Drive
                                                                                                           Suite 5450
                                                                                                           Chicago, IL 60606
                                                                                                           Tel: 312-346-2222
                                                                                                           kaw@wbe-llp.com
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                                                                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                                     COUNTY DEPARTMENT, CHANCERY DIVISION
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                                              ERICA NORMAN, individually and on behalf
                                              of all others similarly situated,

                                                                              Plaintiffs,
                                                                                                     Docket No. _____
                                              v.
                                                                                                     Hon. ___________
                                              SERVALL BIOMETRICS D/B/A PATRONSCAN,
                                              Inc.                                                   Calendar ________

                                                                              Defendants.


                                                                         AFFIDAVIT OF KEVIN LANDAU

                                                      I, Kevin Landau, being first duly cautioned, swear and affirm as follows:

                                                   1. I am one of Plaintiffs’ Counsel in the above-referenced matter.

                                                   2. I submit this Affidavit in support of Plaintiffs’ Motion for Class Certification and
                                                      Request for Discovery on Certification Issues.

                                                   3. I am the founding and managing partner of the law firm Taus, Cebulash & Landau,
                                                      LLP. Attached hereto as Exhibit 1 is a true and correct copy of the firm’s résumé.


                                             FURTHER YOUR AFFIANT SAYETH NOT.


                                             Date: March 21, 2023
                                                                                                           /s/ Kevin Landau
                                                                                                           Kevin Landau
                                                                                                           TAUS, CEBULASH &
                                                                                                           LANDAU, LLP
                                                                                                           123 William St., Suite 1900A
                                                                                                           New York, NY 10038
                                                                                                           klandau@tcllaw.com.
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                                                                                              is a litigation firm with a focus in complex antitrust
                                            and consumer protection class actions. The firm was founded in 2009 with a few basic guiding
                                            principles: we are dedicated to providing the highest quality legal representation to our clients and
                                            class members, while working in an environment that inspires collaboration, inventiveness and
                                            productivity.

                                                    We have extensive knowledge and experience in complex antitrust actions in a variety of
                                            industries, including pharmaceutical and medical devices. The firm and its members have been
                                            appointed to Executive Committees in multiple cases. We currently represent plaintiffs and class
                                            members in pharmaceutical antitrust actions alleging pharmaceutical manufacturers have wrongfully
                                            prevented or delayed less expensive generic drugs from entering the market, including In re Effexor XR
                                            Direct Purchaser Antitrust Litigation, 11-cv-05479 (D.N.J.) (Executive Committee); In re Zetia
                                            (Ezetimibe) Antitrust Litigation, 18-md-2836 (E.D. Va.) (Executive Committee); In re Niaspan
                                            Antitrust Litigation, 13-md-2460 (E.D. Pa.); In re Lipitor Antitrust Litigation, 12-cv-2389 (D.N.J.); In
                                            re Suboxone (Buprenorphine Hydrochloride and Naloxone) Antitrust Litigation, 13-md-2445 (E.D.
                                            Pa.); In re Opana ER Antitrust Litigation, 14-cv-10151 (N.D. Ill.); In re Amitiza Antitrust Litigation,
                                            No. 21-cv-11057 (D.Mass.) and In re Generic Pharmaceutical Pricing Antitrust Litigation, 16-md-
                                            2724 (E.D. Pa.). We have also represented classes in recent pharmaceutical antitrust actions in which
                                            we and our co-counsel have recovered significant settlements for the class members, including In re
                                            Glumetza Antitrust Litigation, 19-cv-5822 (N.D. Ca.) ($453 million); In re Lidoderm Antitrust
                                            Litigation, 14-md-2521 (N.D. Cal.) (Executive Committee) ($166 million); In re Solodyn Antitrust
                                            Litigation, 14-md-2503 (D. Mass.) ($72.5 million); In re Celebrex Antitrust Litigation, 14-cv-361
                                            (E.D. Va.) ($94 million); and In re: Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litigation,
                                            18-MD-2819 (E.D.N.Y) (Executive Committee) ($51.2 million). Prior to the founding of Taus,
                                            Cebulash & Landau, LLP, our attorneys played a leadership role in cases where hundreds of millions
                                            of dollars were recovered for class members.

                                                    Taus, Cebulash & Landau, LLP and our co-counsel also represent or have represented class
                                            members in numerous other complex antitrust actions in a range of industries including cable services,
                                            auto parts, contact lenses, and food supplies. As Lead Counsel in Marchese v. Cablevision Systems
                                            Corp., and CSC Holdings, Inc., 10-cv-02190 (D.N.J.), we obtained $72 million in settlement benefits
                                            for cable subscribers. The firm is a member of the Plaintiffs’ Steering Committee representing farmers
                                            in In re Crop Inputs Antitrust Litig., 21-md-2993 (E.D.Mo.). We also represent advertiser plaintiffs as
                                            a member of the Advertiser Class Steering Committee in In re Google Digital Advertising Antitrust
                                            Litigation, 21-md-3010 (S.D.N.Y.). We represent or have represented classes of purchasers subject to
                                            anticompetitive practices in numerous cases, including, In re Automotive Parts Antitrust Litigation, 12-
                                            md-2311 (E.D. Mich); In re Disposable Contact Lens Antitrust Litigation, 15-md-2626 (M.D. Fla.); In
                                            re Broiler Chicken Antitrust Litigation, 16-cv-08637 (N.D. Ill.); In Re Dealer Management Systems
                                            Antitrust Litigation, 18-cv-864 (N.D. Ill.); Universal Delaware Inc. v. Ceridian Corp., et al., 09-cv-
                                            2327 (E.D. Pa.), and Wallach, et al. v. Eaton, et al., 10-cv-260 (D. Del.).
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                                                    Our attorneys also have significant experience in consumer protection class actions,
                                            representing class members against several banks, credit card and mortgage service companies, as well
                                            as in cases involving overcharges on consumer products. The firm currently serves as Co-Lead
                                            Counsel representing a class of infant formula purchasers in Hasemann et al v. Gerber, 15-cv-02995
                                            (E.D.N.Y.) and is taking a leading role in managing the litigation in Krukas v. AARP, Inc. et al., 18-cv-
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                                            01124 (D.D.C.). Our cases include Hogan v. Amazon.com, Inc., 21-cv-3169 (N.D. Ill.)(executive
                                            committee); Esslinger, et. al. v. HSBC, 10-cv-3213 (E.D. Pa.) (Co-Lead Counsel); Westrope, et al v.
                                            Ringler, et al, 14-cv-0604 (D.Or.); In re Discover Payment Protection Plan Marketing and Sales
                                            Practices Litigation, 10-cv-6994 (N.D. Ill.); In re Bank of America Credit Protection Marketing and
                                            Sales Practices Litigation, 11-md-02269 (N.D. Cal.) (Executive Committee); Arnett v. Bank of
                                            America, 11-cv-1372 (D.Or.); and Scheetz v. JP Morgan Chase, 12-cv-4113 (S.D.N.Y.). Our
                                            attorneys have also previously taken active roles in such cases as McCoy v. Capital One Bank (USA),
                                            N.A. and Capital One Services, L.L.C., 10-cv-0185 (S.D. Cal.), and In Re National Arbitration Forum
                                            Trade Practices Litigation, 09-cv-01939 (D. Minn.).




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                                                    Barry S. Taus currently represents plaintiffs and class members in major complex class actions
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                                            including In re Effexor XR Direct Purchaser Antitrust Litigation (D.N.J.); In re Opana ER Antitrust
                                            Litigation (N.D. Ill.); In re Amitiza Antitrust Litigation, No. 21-cv-11057 (D.Mass.) and In re Avandia
                                            Marketing, Sales Practices and Products Liability Litigation, MDL. No. 181 (E.D. Pa.).

                                                     Mr. Taus has also played significant roles in various antitrust class actions that have been
                                            successfully resolved, including In re Glumetza Antitrust Litigation, 19-cv-5822 (N.D.Ca.) (settled for
                                            $453 million); Marchese v. Cablevision Systems Corp., et al. (settled for over $72 million in settlement
                                            benefits plus significant injunctive relief) (lead counsel); Universal Delaware, Inc. v. Ceridian Corp.,
                                            et al. (settled for $130 million plus significant injunctive relief); Castro, et al. v. Sanofi Pasteur, Inc.
                                            (settled for $61 million); In re Wellbutrin XL Antitrust Litigation (partially settled for $37.5 million);
                                            In re Skelaxin Antitrust Litigation (settled for $73 million); In re Buspirone Antitrust Litigation
                                            (S.D.N.Y.) (settled for $220 million); In re Relafen Antitrust Litigation (D. Mass.) (settled for $175
                                            million); and In re Remeron Antitrust Litigation (D. N.J.) (settled for $75 million).

                                                    Mr. Taus has acted as Lead Counsel or Co-Lead Counsel for classes of direct purchasers in a
                                            number of major, complex antitrust litigations, including In re Cardizem CD Antitrust Litigation (E.D.
                                            Mich.) (settled for $110 million); In re Terazosin Hydrochloride Antitrust Litigation (S.D. Fla.)
                                            (settled for $75 million); and In re Tricor Antitrust Litigation (D. Del.) (settled for $250 million).

                                                    As Lead Counsel for the direct purchaser class in the Tricor case, Mr. Taus successfully
                                            negotiated what was then the largest settlement of any direct purchaser class action alleging impeded
                                            generic pharmaceutical competition in the Hatch-Waxman antitrust context ($250 million). Prior to
                                            settlement, Mr. Taus was responsible for overseeing all material aspects of the litigation on behalf of
                                            the direct purchaser class, including the extensive research leading to the initial complaint, analyzing
                                            thousands of pages of discovery documents and taking numerous depositions to marshal evidence to
                                            support plaintiffs’ theories relating to liability, antitrust impact, causation, monopoly power and class
                                            certification, retaining and working closely with numerous experts, and ultimately preparing for and
                                            proceeding to trial.

                                                    In addition to his antitrust experience, Mr. Taus took a central, active role in numerous
                                            stockholder class action and derivative actions. These actions included Rebenstock v Fruehauf Trailer
                                            Corp.; In re Par Pharmaceutical Securities Litigation; In re F&M Distributors, Inc. Securities
                                            Litigation; In re Taxable Municipal Bond Litigation; In re Bay Financial Securities Litigation; and
                                            Sanders v. Wang, et. al (resulting in recovery from certain senior executives of stock valued in excess
                                            of $225 million for the benefit of Computer Associates). Furthermore, Mr. Taus has successfully
                                            played a leading role in various complex consumer class actions, including Cicarell v. Provident
                                            Mutual Life Ins. Co. (sales practice litigation settled for $45 million) and Provident Demutualization
                                            Litigation (enjoined demutualization that would have harmed policyholders).

                                                    Mr. Taus graduated cum laude from the State University of New York at Albany in 1986 with a
                                            Bachelor of Science degree in Accounting. Mr. Taus graduated from Brooklyn Law School in 1989,
                                            and is admitted to the Bar of the State of New York, as well as the United States District Court for the
                                            Southern District of New York and the United States Courts of Appeals for the Second and Eleventh


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                                            Circuits. He is also a member of the New York State Bar Association and the American Bar
                                            Association.



                                                    Brett Cebulash focuses his practice on litigating complex class actions designed to remedy
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                                            class-wide harms caused by unfair, deceptive or anticompetitive practices. Over the course of his 25-
                                            year career, Mr. Cebulash has made substantial contributions to complex class cases in the areas of
                                            antitrust law (designed to remedy anticompetitive behavior and restore competition), consumer
                                            protection law (designed to remedy unfair and deceptive practices in the sale or use of goods and
                                            services), employment law (designed to remedy unfair employment practices), and securities law
                                            (designed to remedy false and misleading disclosures in the sale of securities). In recognition of his
                                            achievements in complex litigation, Mr. Cebulash has been selected as a New York Metro “Super
                                            Lawyer” from 2014-2021 in antitrust and class action litigation. “Super Lawyer” selection results from
                                            peer nominations, a “blue ribbon” panel review process and independent research on candidates; no
                                            more than 5% of lawyers in the New York metro areas are selected as “Super Lawyers.”

                                                    Mr. Cebulash has prosecuted complex class matters in a wide range of industries. For instance,
                                            Mr. Cebulash is currently engaged in challenging practices regarding infant formula marketing in
                                            Hasemann v. Gerber (E.D.N.Y.) (Co-Lead Counsel), improper imposition of fees by Nassau and
                                            Suffolk County in Guthart v. Nassau County and McGrath v. Suffolk County (N.Y. Sup. Ct.) and
                                            collection of improper fees and commissions in Krukas v. AARP (D.D.C.). As Lead Counsel, Mr.
                                            Cebulash was substantially involved in all aspects of Marchese v. Cablevision (D.N.J.), a class action
                                            challenging Cablevision’s tying of subscriptions to interactive services to the rental of set-top boxes
                                            exclusively from Cablevision that resulted in a settlement providing in excess of $72 million in
                                            settlement benefits and significant injunctive relief to Cablevision subscribers. In the trucking
                                            industry, Mr. Cebulash also has been involved in Wallach, et al v. Eaton (D. Del.), a class action
                                            challenging exclusive dealing conduct in the market for Class 8 truck transmissions, and Universal
                                            Delaware, Inc. v. Ceridian Corp., et al. (E.D.Pa.), challenging anticompetitive arrangements with
                                            regard to fuel cards.

                                                    Mr. Cebulash has litigated many cases that challenge anticompetitive conduct in the healthcare
                                            industry. For example, Mr. Cebulash has been involved in development and prosecution of In re
                                            Asacol Antitrust Litigation (D. Mass.) In re Effexor XR Direct Purchaser Antitrust Litigation (D.N.J.)
                                            and In re Glumetza Antitrust Litigation (N.D.Cal). Other examples in the healthcare area include
                                            Natchitoches Parish Hosp. v. Tyco (D. Mass.), brought on behalf of a class of direct purchasers of
                                            sharps containers who were overcharged as a result of Tyco’s exclusive dealing conduct, where Mr.
                                            Cebulash was responsible for leading all aspects of the case up to summary judgment, including
                                            successfully arguing for class certification, defending the opinions of plaintiffs’ economists, deposing
                                            and successfully challenging opinions of certain of Defendants’ experts, leading all discovery efforts
                                            and engaging in economic analyses. In Neurontin Antitrust Litigation (D.N.J), Mr. Cebulash was
                                            responsible for developing the direct purchaser class action that challenged Pfizer’s scheme to delay
                                            generic competition for Neurontin, including formulating the contours of Pfizer’s overarching scheme
                                            and successfully arguing against Pfizer’s motion to dismiss. Mr. Cebulash successfully lead
                                            prosecution of In re Nifedipine Antitrust Litigation (D.D.C.), which challenged anticompetitive
                                            agreements between generic manufacturers of generic Adalat, including leading discovery against
                                            Biovail, deposing production and manufacturing experts, working with plaintiffs’ experts and
                                            preparing successful class certification and summary judgement papers.


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                                                     In the area of consumer protection, Mr. Cebulash has been prominently involved in cases
                                            challenging the practices of banks and insurers in the forced placement of flood insurance. In Arnett v.
                                            Bank of America (D. Or.), Mr. Cebulash successfully argued in opposition to Bank of America’s
                                            motion to dismiss, developed the concept of the lender-servicer distinction (to distinguish the actions
                                            of loan servicers from those reserved to the lender/owner of the mortgage to counter servicers’
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                                            arguments that they were entitled to unfettered discretion under the mortgage to set terms for flood
                                            insurance) and engaged in all other aspects of the prosecution of the Arnett matter, leading to a
                                            settlement providing $31 million in cash for the class as well as significant relief from Bank of
                                            America’s flood insurance practices. Mr. Cebulash was involved in the development and prosecution
                                            of Casey and Skinner v. Citibank (N.D.N.Y), where the court adopted the lender-servicer distinction in
                                            denying Citibank’s motion to dismiss and which ultimately settled for $110 million in value available
                                            to the flood, hazard and wind insurance classes as well as changes to Citibank’s insurance practices. In
                                            Clements, Scheetz, et. al. v. JP Morgan Chase (N.D. Cal.)/(S.D.N.Y.) Mr. Cebulash developed
                                            concepts that contributed to reaching a settlement that provided $22.1 million in cash to the class and
                                            changes to Chase’s force placed flood insurance practices. Mr. Cebulash has litigated cases
                                            challenging other insurance-related deceptive practices including Westrope v. Ringler, (D. Or.)
                                            alleging that structured settlement brokers negligently and illegally sold ELNY annuities and In re
                                            Provident Demutualization, (Pa. Ct. Comm. Pleas) challenging a demutualization on the basis that it
                                            benefitted insiders and executives at the expense of policyholders.

                                                    Mr. Cebulash has successfully litigated numerous actions against credit card issuers
                                            challenging their deceptive practices with regard to their credit protection products. Mr. Cebulash was
                                            involved in the litigation of Spinelli, et al v. Capital One, (M.D. Fla), which included litigating cases in
                                            California and Connecticut and negotiating a successful settlement that provided substantial relief to
                                            Capital One cardholders. Mr. Cebulash also litigated actions on behalf of cardholders in Esslinger v.
                                            HSBC, (E.D. Pa.) (co-lead counsel), Bank of America Credit Protection Marketing & Sales Practices
                                            Litigation (N.D. Cal.) (executive committee) and Discover Payment Protection Plan Marketing and
                                            Sales Practices Litigation (N.D. Ill.), successfully providing these classes with over $50 million in
                                            total cash relief as well as improvements to credit protection practices.

                                                    Mr. Cebulash has also litigated securities class actions, developing theories regarding improper
                                            disclosures and improper accounting and revenue recognition methods that lead to successful results in
                                            cases such as F&M Distributors, Inc. Securities Litigation (E.D. Mich.) Bank One Securities Litigation
                                            (N.D. Ill.) and Gutter v. Dupont (S.D. Fla.). Mr. Cebulash has also been substantially involved in
                                            employment cases such as Davis v. Kodak (W.D.N.Y.) and Diaz v. Electronics Boutique (W.D.N.Y.)

                                                    A graduate of the University of Virginia, Mr. Cebulash received his J.D. cum laude from
                                            Brooklyn Law School. He is admitted to the Bar of the States of New York and New Jersey, as well as
                                            the United States Courts of Appeals for the First, Third and Ninth Circuits and the United States
                                            District Courts for the Southern, Eastern, Western and Northern Districts of New York and the District
                                            of New Jersey.




                                                    Kevin Landau currently represents plaintiffs and class members in various antitrust and
                                            consumer class actions, including In re Generic Pharmaceutical Pricing Antitrust Litigation, (E.D.
                                            Pa.), an antitrust action alleging price fixing within the generic pharmaceutical industry; In re Effexor
                                            Antitrust Litigation (D.N.J) and In Re Zetia Antitrust Litigation (E.D.Va), antitrust actions alleging that
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                                            the brand manufacturer delayed less expensive generic drugs from entering the market; In re Broiler
                                            Chicken Antitrust Litigation, (N.D. Ill.), an antitrust action alleging price-fixing of broiler chickens; In
                                            re Automotive Parts Antitrust Litigation (E.D. Mich.), an antitrust action alleging price-fixing within
                                            the auto parts industry; Guthart v. Nassau County, et al. and McGrath v. Suffolk County et al. (NYS
                                            Supreme Court)(lead counsel), consumer class actions alleging that local governments imposed ultra
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                                            vires administrative fees in connection with red-light camera violations; Hasemann v. Gerber
                                            (E.D.N.Y.)(co-lead counsel), a consumer protection class action challenging practices regarding infant
                                            formula marketing; and Hogan v. Amazon.com, Inc., 21-cv-3169 (N.D. Ill.), a case challenging
                                            Amazon’s collection of biometric from Amazon Photos (executive committee).

                                                     In addition to these active cases, Mr. Landau has also represented plaintiffs and class members
                                            in various cases which have been successfully resolved, such as, Marchese v. Cablevision Systems
                                            Corp., et al. (D.N.J.) (antitrust class action settlement providing in excess of $72 million in settlement
                                            benefits and significant injunctive relief to Cablevision subscribers who paid inflated prices for their
                                            set-top boxes) (lead counsel); Esslinger, et al. v. HSBC Bank Nevada, N.A. (E.D. Pa.) ($23.5 million
                                            settlement for cardholders in class action) (co-lead counsel); LiPuma v. American Express (S.D. Fl.)
                                            ($75 million settlement for cardholders in consumer class action) (co-lead counsel); In Re: Bank of
                                            America Credit Protection Marketing & Sales Practices Litigation (N.D. Cal.) ($20 million settlement
                                            for cardholders in consumer class action) (member of executive committee); In re Discover Payment
                                            Protection Plan Marketing and Sales Practices Litigation, ($10.5 million settlement for cardholders in
                                            consumer class action); Arnett v. Bank of America, No. 11-cv-1372 (SI) (D. Or.) ($31 million
                                            settlement for class challenging lender placed flood insurance practices); Casey v. Citibank, N.A., No.
                                            12-820 (DNH/DEP) (N.D.N.Y.) (settlement providing for $110 million in benefits to class challenging
                                            wind, flood and hazard insurance practices); In re Skelaxin Antitrust Litigation ($73 million settlement
                                            for direct purchasers in antitrust class action), In re Metoprolol Succinate Antitrust Litigation (settled
                                            for $20 million settlement for direct purchasers in antitrust class action); Gutter v. Dupont (S.D. Fl.)
                                            ($77.5 million settlement for shareholder class); In re Cendant Corporation Derivative Litigation
                                            (D.N.J.) ($54 million recovery for the corporation in derivative action); Giant Eagle, Inc. v. Cephalon,
                                            Inc. et al. (E.D.Pa.) (private settlement in antitrust action alleging that Cephalon paid its generic
                                            competitors to stay off the market with their competing generic versions of Provigil); Westrope v.
                                            Ringler (D.N.J.) (resolving claim of structured settlement annuitants who suffered cuts to their annuity
                                            payments as a result of their structured settlement brokers’ alleged negligence).

                                                     Mr. Landau was recognized in 2014-2022 as a New York Metro “Super Lawyer” in class action
                                            litigation. “Super Lawyer” selection results from peer nominations, a “blue ribbon” panel review
                                            process and independent research on candidates; no more than 5% of lawyers in the New York metro
                                            areas are selected as “Super Lawyers.” He has been an invited as a panelist at American Conference
                                            Institute Forums focusing on consumer protection issues. He is also a member of the Committee to
                                            Support Antitrust Laws, an organization dedicated to promoting and supporting the enactment,
                                            preservation, and enforcement of a strong body of antitrust laws in the United States, and the Plaintiffs’
                                            Class Action Forum, an invitation-only professional group focused on emerging trends in class actions.

                                                    Mr. Landau graduated with high honors from Lehigh University in 1993 with a Bachelor of
                                            Arts in Government. Mr. Landau graduated from Brooklyn Law School in 1996, where he was a
                                            member of the Brooklyn Law Review. Mr. Landau is admitted to the Bar of the State of New York, as
                                            well as the United States District Courts for the Southern and Eastern Districts of New York, and the
                                            United States Court of Appeals for the Second Circuit, Third Circuit, Eleventh Circuit and D.C.
                                            Circuit. He is also a member of the Association of the Bar of the City of New York, the New York
                                            State Bar Association and the American Bar Association. He volunteers at Central Synagogue’s
                                            Homeless Breakfast Program and as a mentor for students in Legal Outreach, an educational program
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                                            that serves low-income, mostly minority, and/or first generation urban youth from underserved
                                            neighborhoods in New York City
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                                                   Archana Tamoshunas focuses her practice on complex class action litigation, including antitrust
                                            and consumer protection litigation. Over her career, Ms. Tamoshunas has been counsel in numerous
                                            complex federal antitrust class actions and specializes in those involving the pharmaceutical and
                                            medical device industries. She is active in all aspects of the litigation process including day-to-day
                                            management of discovery, briefing, class certification and trial preparation.

                                                    Ms. Tamoshunas is a member of the Plaintiffs’ Steering Committee representing farmers in In
                                            re Crop Inputs Antitrust Litigation (E.D. Mo.) and the Advertising Class Steering Committee
                                            representing a proposed class of digital advertisers against Google in In re Google Digital Advertising
                                            Antitrust Litigation (S.D.N.Y.). She also currently represents third party payors and purchasers of
                                            prescription drugs in federal antitrust class actions alleging that pharmaceutical manufacturers have
                                            wrongfully prevented or delayed less expensive generic drugs from entering the market including, In
                                            re Zetia (Ezetimibe) Antitrust Litigation (E.D.Va.) (Executive Committee); In re Niaspan Antitrust
                                            Litigation (E.D. Pa.); In re Suboxone (Buprenorphine Hydrochloride and Naloxone) Antitrust
                                            Litigation (E.D. Pa.); Government Employees Health Association v. Actelion Pharmaceuticals Ltd. (D.
                                            Md.); In re Bystolic Antitrust Litigation (S.D.N.Y.); In re Seroquel XR (Extended Release Quetiapine
                                            Fumarate) Antitrust Litigation (D. Del.); and In re Copaxone Antitrust Litigation (D.N.J.).

                                                    Ms. Tamoshunas has also represented direct purchasers in antitrust cases that have been
                                            successfully resolved including In re Lidoderm Antitrust Litigation (N.D. Cal.), in which her firm was
                                            appointed to the Executive Committee and she was personally involved in management and trial
                                            preparation of the case ($166 million settlement); In re Solodyn Antitrust Litigation (D. Mass.) ($72.5
                                            million settlement); In re Skelaxin (Metaxalone) Antitrust Litigation (E.D. Tenn.) ($73 million
                                            settlement), In re Prandin Direct Purchaser Antitrust Litigation (E.D. Mich.) (Executive Committee)
                                            ($19 million settlement) and Mylan Pharmaceuticals v. Warner Chilcott (E.D. Pa.) ($15 million
                                            settlement), and was heavily involved in the management of successfully resolved cases including In
                                            re Relafen Antitrust Litigation (D. Mass.); In re Terazosin Hydrochloride Antitrust Litigation (S.D.
                                            Fla.) and Natchitoches Parish Hospital District et al. v. Tyco International, et al. (D. Mass.).

                                                    In 2021 and 2022, Ms. Tamoshunas was recognized as a New York Metro “Super Lawyer” in
                                            class action litigation. “Super Lawyer” selection results from peer nominations, a “blue ribbon” panel
                                            review process and independent research on candidates; no more than 5% of lawyers in the New York
                                            metro areas are selected as “Super Lawyers.”

                                                    Ms. Tamoshunas graduated from Williams College (B.A.) and from New York University
                                            School of Law, where she was a member of the Moot Court Board and had her case problem published
                                            in the New York University School of Law Moot Court Casebook (Vol. 22, 1998). After graduating
                                            from law school, Ms. Tamoshunas represented the City of New York in child abuse and neglect cases
                                            in Family Court.

                                                   Ms. Tamoshunas is admitted to the Bar of the State of New York as well as the Southern and
                                            Eastern Districts of New York, the Eastern District of Michigan and the First, Third and Eleventh

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                                            Circuit Courts of Appeals. She is a member of the Antitrust Law Section of the New York State Bar
                                            Association.
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                                                     Miles Greaves currently represents consumers in a number of antitrust and consumer-protection
                                            class actions throughout the country, including several involving price-fixing allegations, such as In re
                                            Broiler Chicken Antitrust Litigation (N.D. Ill.), In re Automotive Parts Antitrust Litigation (E.D.
                                            Mich.), and In re Disposable Contact Lens Antitrust Litigation (M.D. Fla.). He is responsible for the
                                            day-day case management in Hasemann v. Gerber Products Co. (E.D.N.Y.), which alleges that the
                                            defendant improperly marketed its infant formula, and he represents the plaintiff in McGrath v. Suffolk
                                            County (N.Y. Sup. Ct.), which challenges the administrative fees associated with red-light-camera
                                            tickets. Mr. Greaves also represents the plaintiffs Simon & Simon, PC, et al, v. Align Tech., Inc. (N.D.
                                            Cal.), which alleges that the defendant illegally monopolized the market for clear dental aligners, and
                                            Mr. Greaves plays a role in several antitrust class actions alleging that brand-name pharmaceutical
                                            manufacturers inhibited the introduction of generic pharmaceuticals, such as In re Effexor XR Antitrust
                                            Litigation (D.N.J.), In re Lidoderm Antitrust Litigation (N.D. Cal.), In re Niaspan Antitrust Litigation
                                            (E.D. Pa.), and In re Suboxone (Buprenorphine Hydrochloride and Naloxone) Antitrust Litigation
                                            (E.D. Pa.).

                                                    In addition to these ongoing actions, Mr. Greaves has represented plaintiffs and classes in a
                                            number of cases that have been successfully resolved, including In re Glumetza Antitrust Litigation
                                            (N.D. Ca.), which resulted in one of the largest settlements of its kind. Other cases include In re
                                            Lidoderm Antitrust Litigation (N.D. Cal.); In re: Restasis (Cyclosporine Ophthalmic Emulsion)
                                            Antitrust Litigation (E.D.N.Y); In re Solodyn Antitrust Litigation (D. Mass.); In re Celebrex Antitrust
                                            Litigation (E.D. Va.); Universal Delaware, Inc. v. Ceridian Corp. (E.D. Pa.); In re Prandin Direct
                                            Purchasers Antitrust Litigation (E.D. Mich.), as well as Arnett v. Bank of America, N.A. (D. Or.);
                                            Scheetz v. JPMorgan Chase Bank, N.A. (S.D.N.Y.); Marchese v. Cablevision Systems Corp. (D.N.J.);
                                            Westrope v. Ringler Associates Inc. (D. Or.).

                                                    Mr. Greaves graduated summa cum laude with honors from the State University of New York at
                                            Albany in 2004, with a Bachelor of Arts in English. He graduated cum laude from Brooklyn Law School in
                                            2012. Mr. Greaves is admitted to the Bar of the State of New York, as well as the United States District Courts
                                            for the Southern, Eastern, and Northern Districts of New York, and the D.C. Circuit Court of Appeals.




                                                    Since joining the firm fulltime in 2018, Mr. Rosin has been actively involved in nearly all
                                            phases of complex consumer class actions challenging an array of anticompetitive practices such as
                                            price-fixing, exclusive dealing, market allocation, tying, and other unlawful conduct that harms
                                            consumers and the economy. Mr. Rosin has worked on cases across multiple industries including
                                            contact lenses (In re Disposable Contact Lens (M.D. Fla.)), single-serve coffee (In re Keurig Green
                                            Mountain Single-Serve Coffee Antitrust Litigation (S.D.N.Y)), pharmaceuticals (In re Generic
                                            Pharmaceutical Pricing Antitrust Litigation) (E.D. Pa.)), dealer management system and data
                                            integration services (In re Dealer Management Systems Antitrust Litigation (N.D. Ill.)), and health
                                            insurance (Krukas v. AARP, Inc. et al. (D.D.C.)). He has also helped represent citizens challenging the
                                            improper imposition of fees by local governments (Guthart v. Nassau County and McGrath v. Suffolk
                                                                                               8
                                                Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 209 of 230 PageID #:269

                                            County (N.Y. Sup. Ct.)). More recently, Mr. Rosin has taken an active role representing digital
                                            advertisers against Google (In re Google Advertising Antitrust Litigation (S.D.N.Y.)), as well as
                                            challenging an alleged conspiracy amongst agribusiness giants (In re Crop Inputs Antitrust Litigation
                                            (E.D. Mo.)).
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                                                   Mr. Rosin graduated magna cum laude, with honors, from the University of Michigan in 2009,
                                            with a Bachelor of Arts in Political Science. He also earned the Residential College Commendation
                                            and Certificat d’Etudes Politiques. Mr. Rosin graduated from Brooklyn Law School in 2013, where he
                                            was an editor for the Brooklyn Journal of International Law and member of the Phi Delta Phi Legal
                                            Honor Society. While at Brooklyn Law, he interned for and actively contributed to the Brooklyn Law
                                            School Community Development Clinic. Mr. Rosin is admitted to the Bar in New York, Michigan, and
                                            the United States District Court for the Eastern District of Michigan.




                                                   Gwendolyn Nelson is an experienced litigator and corporate attorney. She joined the firm in
                                            2022 and is currently working on a number of antitrust cases, including In re Generic Pharmaceutical
                                            Pricing Antitrust Litigation (E.D. Pa.), Simon & Simon, PC, et al, v. Align Tech., Inc. (N.D. Cal.), and In
                                            re Amitiza Antitrust Litigation, No. 21-cv-11057 (D.Mass.)

                                                    Ms. Nelson previously litigated federal class actions at Kaplan Fox & Kilsheimer LLP. Her
                                            practice at Kaplan Fox focused primarily on antitrust price-fixing cases. Prior to joining the firm, Ms.
                                            Nelson was in-house counsel at Ensyn Corporation, a renewable energy company.

                                                   Ms. Nelson has a Bachelor of Arts in English from Cal Poly San Luis Obispo and graduated
                                            from Fordham University School of Law in 2008. While attending Fordham, she was an editor for the
                                            Fordham Urban Law Journal. She also held externships with the Honorable Deborah A. Batts in the
                                            Southern District of New York and with the New York City Council. In recognition of her legal
                                            volunteer work, she earned an Archibald R. Murray Public Service Award from Fordham Law.




                                                     Since joining the firm in January 2023, Joshua Hall has taken an active role in the discovery
                                            phase of Hogan v. Amazon.com, Inc. (N.D. Ill.), which alleges the defendant violated the rights of
                                            consumers with respect to their biometric information. Mr. Hall began his litigation career in consumer
                                            debt litigation where he was the primary litigator in numerous cases across the five boroughs of New
                                            York. Prior to joining the firm, Mr. Hall took part in numerous discovery review projects, working with
                                            both large and small teams on multiple different cases.

                                                   Mr. Hall graduated with honors from Florida State University in 2016, with a Bachelor of
                                            Science in Political Science. He graduated from the Benjamin N. Cardozo School of Law in 2020, where
                                            he was the first Online Editor for the Cardozo Arts & Entertainment Law Journal, charged with
                                            managing their online publication. Mr. Hall is admitted to the Bar of the State of New York.




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                            Case:scheduled
           Hearing Date: No hearing 1:23-cv-04015   Document #: 1-5 Filed: 06/23/23 Page 210 of 230 PageID #:270
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           Judge: Calendar, 3
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                                                                                (312) 346-2222
Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 211 of 230 PageID #:271
                                                        Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 212 of 230 PageID #:272
                                                     This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
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                                                      STATE OF ILLINOIS,
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                                                       CIRCUIT COURT                                                                              5/18/2023 4:01 PM
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                                            Directly above, enter                                                                                 Calendar, 3
                                            the name of the county                                                                                22787356
                                            where the case was
                                            filed.                      Erica Norman
                                            Enter the name of the        Plaintiff / Petitioner (First, middle, last name or Company)
                                            person or company                                                                                     Hearing Date: No hearing scheduled
                                            that filed this case as                                                                               Location: <<CourtRoomNumber>>
                                            Plaintiff/Petitioner.                                                                                 Judge: Calendar, 3
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                                            Enter the name of the
                                            Defendant/Respondent.
                                            Enter the Case              Servall Biometrics d/b/a Patronscan,QF                                     2023ch02874
                                            Number given by the          Defendant / Respondent (First, middle, last name)                            Case Number
                                            Circuit Clerk.

                                            In 1, check the box        1. The appearance of Erica                                      Norman               is entered in this case by:
                                            next to “Myself,” if                                     First             Middle              Last
                                            you are not an
                                                                          F Myself
                                            attorney. If you are an
                                            attorney, enter the           ✔ Their attorney: James Zouras
                                                                          F
                                            name of your client in
                                            1, check the box next                                  Attorney or Firm Name
                                            to “Their attorney,”
                                            and enter your
                                                                       2. I would like a trial with (check only one; you do not have a right to jury trial in every case):
                                            attorney or firm name
                                            in the blank.                 F a judge            F a judge and a 6-person jury             F a judge and a 12-person jury

                                            Under Illinois                        If you are requesting a trial by jury and e-filing the form, you may need to e-file this form
                                            Supreme Court Rule                    two separate times, once as an Appearance and once as a Jury Demand. Check with
                                            137, your signature        IMPORTANT: Illinois Court Help at ilcourthelp.gov or call (833) 411-1121. You can also check with
                                            means that you have                   your local Circuit Clerk’s office.
                                            read the document,
                                            that to the best of your
                                            belief, it is true and
                                            correct and that you
                                            are not filing it for an    /s/ James Zouras                                         222 W. Adams St.6XLWH
                                            improper purpose,           Your Signature                                             Street Address
                                            such as to cause delay.
                                            If you are completing
                                            this form on a             James Zouras                                              Chicago, IL 60606
                                            computer, sign your
                                                                        Your Name                                                  City, State, ZIP
                                            name by typing it. If
                                            you are completing it
                                            by hand, sign and
                                            print your name.           (312) 233-1550                                            jzouras@stephanzouras.com
                                            Enter your complete         Telephone                                                  Email
                                            address, telephone
                                            number, and email                                                                    6230596
                                                                       Stephan Zouras, LLP
                                            address, if you have
                                            one.                        Firm Name (if any)                                         Attorney # (if any)

                                             If you are an
                                            attorney, enter your
                                            firm name and
                                            attorney number.
                                            GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                            every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.




                                             AP-P 503.7                                                Page 1 of 3                                                                     (09/22)
                                                          Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 213 of 230 PageID #:273
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                                                                                                                      Enter the Case Number given by the Circuit Clerk:______________________


                                                                          PROOF OF DELIVERY

                                                                          1. I am sending the Appearance
                                             In 1a, enter the name,          a. To:
                                             mailing address, and
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                                             email address of the
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                                             party you are sending
                                             the document to. If they              Address:
                                             have a lawyer, you                                   Street, Apt #                                City                    State ZIP
                                             must enter the lawyer’s               Email address:
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                                             In 1b, check the box to         b. By:
                                             show how you are                             ✔ An approved electronic filing service provider (EFSP)
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                                             CAUTION: If you and
                                                                                          F Email (not through an EFSP)
                                             the person you are                    Only use one of the methods below if you do not have an email address, or the
                                             sending the document                  person you are sending the document to does not have an email address.
                                             to have an email                             F Personal hand delivery to:
                                             address, you must use                          F The party
                                             one of the first two
                                             options. Otherwise, you                        F The party’s family member who is 13 or older, at the party’s residence
                                             may use one of the                             F The party’s lawyer
                                             other options.
                                                                                            F The party’s lawyer’s office
                                             In c, fill in the date and                   F Mail or third-party carrier
                                             time that you are
                                             sending the document.
                                                                             c. On:                                       at:                         F   a.m. F      p.m.
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                                             the document to more         2. I am sending the Appearance
                                             than 1 party or lawyer,
                                             fill in a, b, and c.
                                             Otherwise leave 2               a. To:
                                             blank.                             Name:
                                             In 2a, enter the name,                               First                          Middle                        Last
                                             mailing address, and                  Address:
                                             email address of the                                 Street, Apt #                                 City                    State    ZIP
                                             party you are sending
                                             the document to. If they              Email address:
                                             have a lawyer, you
                                             must enter the lawyer’s         b. By:
                                             information.                                 F An approved electronic filing service provider (EFSP)
                                             In 2b, check the box to                      F Email (not through an EFSP)
                                             show how you are                      Only use one of the methods below if you do not have an email address, or the
                                             sending the document.                 person you are sending the document to does not have an email address.
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                                             to have an email                                F The party’s family member who is 13 or older, at the party’s residence
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                                             options. Otherwise, you                         F The party’s lawyer’s office
                                             may use one of the                            F Mail or third-party carrier
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                                             time that you are                c.    On:                                  at:                       F a.m.       F     p.m.
                                             sending the document.                         Date                                 Time




                                            AP-P 503.7                                                            Page 2 of 3                                                            (09/22)
                                                         Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 214 of 230 PageID #:274
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                                             check the box and file
                                             the Additional Proof of
                                             Delivery with this form.


                                              Under the Code of             I certify that everything in the Proof of Delivery is true and correct. I understand that
                                              Civil Procedure, 735
                                                                            a false statement on this form is perjury and has penalties provided by law under
                                              ILCS 5/1-109, making
                                              a statement on this           735 ILCS 5/1-109.
                                              form that you know to
                                              be false is perjury, a
                                              Class 3 Felony.

                                              If you are completing         /s/ James Zouras                                            222 W. Adams St.
                                              this form on a                Your Signature                                               Street Address
                                              computer, sign your
                                              name by typing it. If
                                              you are completing it
                                              by hand, sign and print      James Zouras                                                 Chicago, IL 60606
                                              your name.                    Print Your Name                                              City, State, ZIP
                                              Enter your complete
                                              address, telephone           (312) 233-1550                                               jzouras@stephanzouras.com
                                              number, and email             Telephone                                                    Email
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                                              one.
                                                                           Stephan Zouras, LLP                                         6230596
                                                                             Firm Name (if any)                                         Attorney # (if any)
                                              GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                              every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.




                                            AP-P 503.7                                                            Page 3 of 3                                                                    (09/22)
                                                        Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 215 of 230 PageID #:275
                                                     This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
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                                            Directly above, enter                                                                                  Calendar, 3
                                            the name of the county                                                                                 22788165
                                            where the case was
                                            filed.                      Erica Norman
                                            Enter the name of the        Plaintiff / Petitioner (First, middle, last name or Company)
                                            person or company                                                                                     Hearing Date: No hearing scheduled
                                            that filed this case as                                                                               Location: <<CourtRoomNumber>>
                                            Plaintiff/Petitioner.                                                                                 Judge: Calendar, 3
                                                                         v.
                                            Enter the name of the
                                            Defendant/Respondent.
                                            Enter the Case              Servall Biometrics d/b/a Patronscan, Inc.                                     2023ch02874
                                            Number given by the          Defendant / Respondent (First, middle, last name)                            Case Number
                                            Circuit Clerk.

                                            In 1, check the box        1. The appearance of Erica                                       Norman              is entered in this case by:
                                            next to “Myself,” if                                     First             Middle              Last
                                            you are not an
                                                                          F Myself
                                            attorney. If you are an
                                            attorney, enter the           ✔ Their attorney: Catherine Mitchell
                                                                          F
                                            name of your client in
                                            1, check the box next                                  Attorney or Firm Name
                                            to “Their attorney,”
                                            and enter your
                                                                       2. I would like a trial with (check only one; you do not have a right to jury trial in every case):
                                            attorney or firm name
                                            in the blank.                 F a judge            F a judge and a 6-person jury             F a judge and a 12-person jury

                                            Under Illinois                        If you are requesting a trial by jury and e-filing the form, you may need to e-file this form
                                            Supreme Court Rule                    two separate times, once as an Appearance and once as a Jury Demand. Check with
                                            137, your signature        IMPORTANT: Illinois Court Help at ilcourthelp.gov or call (833) 411-1121. You can also check with
                                            means that you have                   your local Circuit Clerk’s office.
                                            read the document,
                                            that to the best of your
                                            belief, it is true and
                                            correct and that you
                                            are not filing it for an    /s/ &DWKHULQH0LWFKHOO                                   222 W. Adams St.6XLWH
                                            improper purpose,           Your Signature                                             Street Address
                                            such as to cause delay.
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                                            this form on a             Catherine Mitchell                                        Chicago, IL 60606
                                            computer, sign your
                                                                        Your Name                                                  City, State, ZIP
                                            name by typing it. If
                                            you are completing it
                                            by hand, sign and
                                            print your name.           (312) 233-1550                                            cmitchell@stephanzouras.com
                                            Enter your complete         Telephone                                                  Email
                                            address, telephone
                                            number, and email                                                                    6321142
                                                                       Stephan Zouras, LLP
                                            address, if you have
                                            one.                        Firm Name (if any)                                         Attorney # (if any)

                                             If you are an
                                            attorney, enter your
                                            firm name and
                                            attorney number.
                                            GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
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                                             AP-P 503.7                                                Page 1 of 3                                                                     (09/22)
                                                          Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 216 of 230 PageID #:276
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                                             party you are sending
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                                             have a lawyer, you                                   Street, Apt #                                City                    State ZIP
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                                             the person you are                    Only use one of the methods below if you do not have an email address, or the
                                             sending the document                  person you are sending the document to does not have an email address.
                                             to have an email                             F Personal hand delivery to:
                                             address, you must use                          F The party
                                             one of the first two
                                             options. Otherwise, you                        F The party’s family member who is 13 or older, at the party’s residence
                                             may use one of the                             F The party’s lawyer
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                                             than 1 party or lawyer,
                                             fill in a, b, and c.
                                             Otherwise leave 2               a. To:
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                                             In 2a, enter the name,                               First                          Middle                        Last
                                             mailing address, and                  Address:
                                             email address of the                                 Street, Apt #                                 City                    State    ZIP
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                                            AP-P 503.7                                                            Page 2 of 3                                                            (09/22)
                                                         Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 217 of 230 PageID #:277
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                                             If you are sending your
                                             document to more than         F    I have completed an Additional Proof of Delivery form.
                                             2 parties or lawyers,
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                                             check the box and file
                                             the Additional Proof of
                                             Delivery with this form.


                                              Under the Code of             I certify that everything in the Proof of Delivery is true and correct. I understand that
                                              Civil Procedure, 735
                                                                            a false statement on this form is perjury and has penalties provided by law under
                                              ILCS 5/1-109, making
                                              a statement on this           735 ILCS 5/1-109.
                                              form that you know to
                                              be false is perjury, a
                                              Class 3 Felony.

                                              If you are completing         /s/ Catherine Mitchell                                      222 W. Adams St.
                                              this form on a                Your Signature                                               Street Address
                                              computer, sign your
                                              name by typing it. If
                                              you are completing it
                                              by hand, sign and print      Catherine Mitchell                                           Chicago, IL 60606
                                              your name.                    Print Your Name                                              City, State, ZIP
                                              Enter your complete
                                              address, telephone           (312) 233-1550                                               cmitchell@stephanzouras.com
                                              number, and email             Telephone                                                    Email
                                              address, if you have
                                              one.
                                                                           Stephan Zouras, LLP                                         6321142
                                                                             Firm Name (if any)                                         Attorney # (if any)
                                              GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                              every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.




                                            AP-P 503.7                                                            Page 3 of 3                                                                    (09/22)
                                                        Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 218 of 230 PageID #:278
                                                     This form is approved by the Illinois Supreme Court and is required to be accepted in all Illinois Circuit Courts.
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                                               Cook                     COUNTY                                                                    CIRCUIT CLERK
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                                            Directly above, enter                                                                                 Calendar, 3
                                            the name of the county                                                                                22789259
                                            where the case was
                                            filed.                      Erica Norman
                                            Enter the name of the        Plaintiff / Petitioner (First, middle, last name or Company)
                                            person or company                                                                                     Hearing Date: No hearing scheduled
                                            that filed this case as                                                                               Location: <<CourtRoomNumber>>
                                            Plaintiff/Petitioner.                                                                                 Judge: Calendar, 3
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                                            Enter the name of the
                                            Defendant/Respondent.
                                            Enter the Case              Servall Biometrics d/b/a Patronscan, Inc.                                     &+
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                                            Circuit Clerk.

                                            In 1, check the box        1. The appearance of Erica                                       Norman              is entered in this case by:
                                            next to “Myself,” if                                     First             Middle              Last
                                            you are not an
                                                                          F Myself
                                            attorney. If you are an
                                            attorney, enter the           ✔ Their attorney: Ryan Stephan
                                                                          F
                                            name of your client in
                                            1, check the box next                                  Attorney or Firm Name
                                            to “Their attorney,”
                                            and enter your
                                                                       2. I would like a trial with (check only one; you do not have a right to jury trial in every case):
                                            attorney or firm name
                                            in the blank.                 F a judge            F a judge and a 6-person jury             F a judge and a 12-person jury

                                            Under Illinois                        If you are requesting a trial by jury and e-filing the form, you may need to e-file this form
                                            Supreme Court Rule                    two separate times, once as an Appearance and once as a Jury Demand. Check with
                                            137, your signature        IMPORTANT: Illinois Court Help at ilcourthelp.gov or call (833) 411-1121. You can also check with
                                            means that you have                   your local Circuit Clerk’s office.
                                            read the document,
                                            that to the best of your
                                            belief, it is true and
                                            correct and that you
                                            are not filing it for an    /s/ Ryan Stephan                                         222 W. Adams St.6XLWH
                                            improper purpose,           Your Signature                                             Street Address
                                            such as to cause delay.
                                            If you are completing
                                            this form on a             Ryan Stephan                                              Chicago, IL 60606
                                            computer, sign your
                                                                        Your Name                                                  City, State, ZIP
                                            name by typing it. If
                                            you are completing it
                                            by hand, sign and
                                            print your name.           (312) 233-1550                                            rstephan@stephanzouras.com
                                            Enter your complete         Telephone                                                  Email
                                            address, telephone
                                            number, and email                                                                    6273101
                                                                       Stephan Zouras, LLP
                                            address, if you have
                                            one.                        Firm Name (if any)                                         Attorney # (if any)

                                             If you are an
                                            attorney, enter your
                                            firm name and
                                            attorney number.
                                            GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                            every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.




                                             AP-P 503.7                                                Page 1 of 3                                                                     (09/22)
                                                          Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 219 of 230 PageID #:279
                                                                                                                                 2022CH10602
                                                                                                                      Enter the Case Number given by the Circuit Clerk:______________________


                                                                          PROOF OF DELIVERY

                                                                          1. I am sending the Appearance
                                             In 1a, enter the name,          a. To:
                                             mailing address, and
                                                                                Name:
FILED DATE: 5/18/2023 4:50 PM 2023CH02874




                                             email address of the
                                                                                                  First                          Middle                        Last
                                             party you are sending
                                             the document to. If they              Address:
                                             have a lawyer, you                                   Street, Apt #                                City                    State ZIP
                                             must enter the lawyer’s               Email address:
                                             information.
                                             In 1b, check the box to         b. By:
                                             show how you are                             ✔ An approved electronic filing service provider (EFSP)
                                                                                          F
                                             sending the document.
                                             CAUTION: If you and
                                                                                          F Email (not through an EFSP)
                                             the person you are                    Only use one of the methods below if you do not have an email address, or the
                                             sending the document                  person you are sending the document to does not have an email address.
                                             to have an email                             F Personal hand delivery to:
                                             address, you must use                          F The party
                                             one of the first two
                                             options. Otherwise, you                        F The party’s family member who is 13 or older, at the party’s residence
                                             may use one of the                             F The party’s lawyer
                                             other options.
                                                                                            F The party’s lawyer’s office
                                             In c, fill in the date and                   F Mail or third-party carrier
                                             time that you are
                                             sending the document.
                                                                             c. On:                                       at:                         F   a.m. F      p.m.
                                                                                          Date                                   Time
                                             In 2, if you are sending
                                             the document to more         2. I am sending the Appearance
                                             than 1 party or lawyer,
                                             fill in a, b, and c.
                                             Otherwise leave 2               a. To:
                                             blank.                             Name:
                                             In 2a, enter the name,                               First                          Middle                        Last
                                             mailing address, and                  Address:
                                             email address of the                                 Street, Apt #                                 City                    State    ZIP
                                             party you are sending
                                             the document to. If they              Email address:
                                             have a lawyer, you
                                             must enter the lawyer’s         b. By:
                                             information.                                 F An approved electronic filing service provider (EFSP)
                                             In 2b, check the box to                      F Email (not through an EFSP)
                                             show how you are                      Only use one of the methods below if you do not have an email address, or the
                                             sending the document.                 person you are sending the document to does not have an email address.
                                             CAUTION: If you and                           F Personal hand delivery to:
                                             the person you are
                                                                                             F The party
                                             sending the document
                                             to have an email                                F The party’s family member who is 13 or older, at the party’s residence
                                             address, you must use                           F The party’s lawyer
                                             one of the first two
                                             options. Otherwise, you                         F The party’s lawyer’s office
                                             may use one of the                            F Mail or third-party carrier
                                             In c, fill in the date and
                                             time that you are                c.    On:                                  at:                       F a.m.       F     p.m.
                                             sending the document.                         Date                                 Time




                                            AP-P 503.7                                                            Page 2 of 3                                                            (09/22)
                                                         Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 220 of 230 PageID #:280
                                                                                                                                2022CH10602
                                                                                                                      Enter the Case Number given by the Circuit Clerk:______________________




                                             If you are sending your
                                             document to more than         F    I have completed an Additional Proof of Delivery form.
                                             2 parties or lawyers,
FILED DATE: 5/18/2023 4:50 PM 2023CH02874




                                             check the box and file
                                             the Additional Proof of
                                             Delivery with this form.


                                              Under the Code of             I certify that everything in the Proof of Delivery is true and correct. I understand that
                                              Civil Procedure, 735
                                                                            a false statement on this form is perjury and has penalties provided by law under
                                              ILCS 5/1-109, making
                                              a statement on this           735 ILCS 5/1-109.
                                              form that you know to
                                              be false is perjury, a
                                              Class 3 Felony.

                                              If you are completing         /s/ Ryan Stephan                                            222 W. Adams St.6XLWH
                                              this form on a                Your Signature                                               Street Address
                                              computer, sign your
                                              name by typing it. If
                                              you are completing it
                                              by hand, sign and print      Ryan Stephan                                                 Chicago, IL 60606
                                              your name.                    Print Your Name                                              City, State, ZIP
                                              Enter your complete
                                              address, telephone           (312) 233-1550                                               rstephan@stephanzouras.com
                                              number, and email             Telephone                                                    Email
                                              address, if you have
                                              one.
                                                                           Stephan Zouras, LLP                                         6273101
                                                                             Firm Name (if any)                                         Attorney # (if any)
                                              GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone else and that you check
                                              every day. If you do not check your email every day, you may miss important information, notice of court dates, or documents from other parties.




                                            AP-P 503.7                                                            Page 3 of 3                                                                    (09/22)
                                                        Case: 1:23-cv-04015
                                                           This form is approvedDocument       #:Supreme
                                                                                 by the Illinois  1-5 Filed: 06/23/23
                                                                                                         Court and must Page  221 of
                                                                                                                        be accepted    230
                                                                                                                                    in all      PageID
                                                                                                                                           Illinois      #:281
                                                                                                                                                    Courts.
                                                                                            Forms are free at ilcourts.info/forms.
                                                                                                                                            For Court Use Only
                                                      STATE OF ILLINOIS,
                                                       CIRCUIT COURT                                                                      FILED
                                                                                                         SUMMONS                          5/22/2023 9:10 AM
                                                Cook                  COUNTY                                                              IRIS Y. MARTINEZ
                                                                                                                                          CIRCUIT CLERK
                                                Instructions                                                                             COOK COUNTY, IL
FILED DATE: 5/22/2023 9:10 AM 2023CH02874




                                            Enter above the county    Erica Norman                                                        2023CH02874
                                            name where the case        Plaintiff / Petitioner (First, middle, last name)                  Calendar, 3
                                            was filed.                                                                                        22813556

                                            Enter your name as         v.
                                            Plaintiff/Petitioner.
                                            Below “Defendants/         Defendants / Respondents (First, middle, last name)
                                            Respondents,” enter the   Servall Biometrics d/b/a Patronscan                                  2023CH02874
                                            names of all people you
                                            are suing.                                                                                      Case Number


                                            Enter the Case Number                                                                        Hearing Date: No hearing scheduled
                                            given by the Circuit       ✔ Alias Summons (Check this box if this is not the 1st
                                                                       F                                                                 Location: <<CourtRoomNumber>>
                                            Clerk.                     Summons issued for this Defendant.)                               Judge: Calendar, 3


                                                                                IMPORTANT: You have been sued.
                                            x    Read all documents attached to this Summons. To participate in the case, you MUST file an official document with
                                                 the court within the time stated on this Summons called an “Appearance” and a document called an
                                                 “Answer/Response.” If you do not file an Appearance and Answer/Response on time, the court may decide the case
                                                 without hearing from you, and you could be held in default and lose the case.
                                            x    All documents referred to in this Summons can be found at ilcourts.info/forms. Other documents may be available
                                                 from your local Circuit Court Clerk’s office or website.
                                            x    After you fill out the necessary documents, you need to electronically file (e-file) them with the court. To e-file, you
                                                 must create an account with an e-filing service provider. For more information, go to ilcourts.info/efiling. If you
                                                 cannot e-file, you can get an exemption that allows you to file in-person or by mail.
                                            x    You may be charged filing fees, but if you cannot pay them, you can file an Application for Waiver of Court Fees.
                                            x    It is possible that the court will allow you to attend the first court date in this case in-person or remotely by video or
                                                 phone. Contact the Circuit Court Clerk’s office or visit the Court’s website to find out whether this is possible and, if
                                                 so, how to do this.
                                            x    Need help? Call or text Illinois Court Help at 833-411-1121 or go to ilcourthelp.gov for information about going to
                                                 court, including how to fill out and file documents. You can also get free legal information and legal referrals at
                                                 illinoislegalaid.org. All documents referred to in this Summons can be found at ilcourts.info/forms. Other documents
                                                 may be available from your local Circuit Court Clerk’s office or website.
                                            x    ¿Necesita ayuda? Llame o envíe un mensaje de texto a Illinois Court Help al 833-411-1121, o visite ilcourthelp.gov
                                                 para obtener información sobre los casos de la corte y cómo completar y presentar formularios.

                                                                                                   Plaintiff/Petitioner:
                                            Do not use this form in these types of cases:
                                               x All criminal cases                x Order of protection                             x    Adult guardianship
                                               x Eviction                          x Paternity                                       x    Detinue
                                               x Small Claims                      x Stalking no contact orders                      x    Foreclosure
                                               x Divorce                           x Civil no contact orders                         x    Administrative review cases

                                            For eviction, small claims, divorce, and orders of protection, use the forms available at ilcourts.info/forms. If your case
                                            is a detinue, visit illinoislegalaid.org for help.
                                            If you are suing more than 1 Defendant/Respondent, attach an Additional Defendant/Respondent Address and
                                            Service Information form for each additional Defendant/Respondent.


                                            SU-S 1503.3                                                     Page 1 of 4                                                  (05/23)
                                                       Case: 1:23-cv-04015 Document #: 1-5
                                                                                    Enter the Filed: 06/23/23
                                                                                              Case Number given by Page    222
                                                                                                                   the Circuit     of2023CH02874
                                                                                                                                       230 PageID #:282
                                                                                                                               Clerk:_________________________________


                                            In 1a, enter the name          1.    Defendant/Respondent's address and service information:
                                            and address of the first             a. Defendant/Respondent's primary address/information for service:
                                            Defendant/ Respondent
                                            you are serving. If you                  Name (First, Middle, Last): Servall Biometrics d/b/a Patronscan
                                            are serving a                            Registered Agent’s name, if any: c/o Registered Agent EASTBIZ.COM
                                            Registered Agent,
                                                                                     Street Address, Unit #: 5348 Vegas Drive
FILED DATE: 5/22/2023 9:10 AM 2023CH02874




                                            include the Registered
                                            Agent’s name and                         City, State, ZIP: Las Vegas, NV 89108
                                            address here.                            Telephone:                             Email:
                                            In 1b, enter a second                b. If you have more than one address where Defendant/Respondent might be found,
                                            address for the first
                                                                                     list that here:
                                            Defendant/
                                            Respondent, if you                       Name (First, Middle, Last):
                                            have one.                                Street Address, Unit #:
                                                                                        City, State, ZIP:
                                            In 1c, check how you                        Telephone:                                 Email:
                                            are sending your
                                            documents to this
                                                                                 c.     Method of service on Defendant/Respondent:
                                            Defendant/                                  F Sheriff             F Sheriff outside Illinois:
                                            Respondent.                                                                                            County & State
                                                                                        ✔ Special process server
                                                                                        F                                         F Licensed private detective

                                            Check here if you are         F      I am serving more than 1 Defendant/Respondent.
                                            serving more than 1
                                            Defendant/                           I have attached                            Additional Defendant/Respondent Address
                                            Respondent. Attach an                                      Number
                                            Additional Defendant/                and Service Information forms.
                                            Respondent Address
                                            and Service
                                            Information form for          2.     Information about the lawsuit:
                                            each additional                      a. Amount claimed: $ 100,000,000.00
                                            Defendant/Respondent
                                                                          F      b. I am asking for the return of tangible personal property (items in the
                                            and write the number
                                            of forms you attached.                   Defendant/Respondent’s possession).
                                            In 2a, enter the
                                            amount of money
                                                                          3.     Contact information for the Plaintiff/Petitioner:
                                            owed to you. Check
                                            2b if you are asking                 Name (First, Middle, Last): Justin N. Boley/Wexler Boley & Elgersma (counsel for Plaintiff)
                                            for the return of                    Street Address, Unit #: 311 S. Wacker Drive, Suite 5450
                                            tangible personal
                                            property.                            City, State, ZIP: Chicago, IL 60606
                                            In 3, enter your                     Telephone: 3123462222                         Email:    jnb@wbe-llp.com
                                            complete address,
                                            telephone number, and
                                            email address, if you      GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone
                                            have one.                  else and that you check every day. If you do not check your email every day, you may miss important information,
                                                                       notice of court dates, or documents from other parties.

                                                 Important             You have been sued. Read all of the documents attached to this Summons.
                                            information for the        To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
                                             person getting this       the case without hearing from you and you could lose the case. Appearance and Answer/Response forms can
                                                   form                be found at: ilcourts.info/forms.

                                            Check 4a or 4b. If            4.    Instructions for person receiving this Summons (Defendant):
                                            Defendant/Respondent
                                                                          F
                                                                          ✔     a.    To respond to this Summons, you must file Appearance and Answer/Response
                                            only needs to file an
                                            Appearance and                            forms with the court within 30 days after you have been served (not counting the day
                                            Answer/Response                           of service) by e-filing or at:
                                            within 30 days, check
                                            box 4a. Otherwise, if                     Address: Richard J. Daley Center, 50 W. Washington Street
                                            the clerk gives you a                     City, State, ZIP: Chicago, IL 60602
                                            court date, check box
                                            4b.


                                            SU-S 1503.3                                                       Page 2 of 5                                                          (05/23)
                                                       Case:
                                                     This      1:23-cv-04015
                                                          form is approved by the Document      #: 1-5
                                                                                  Illinois Supreme     Filed:
                                                                                                   Court and is06/23/23
                                                                                                                required toPage  223 of
                                                                                                                           be accepted in 230     PageID
                                                                                                                                          all Illinois      #:283
                                                                                                                                                       Circuit Courts.
                                            In 4a, fill out the        F     b.   Attend court:
                                            address of the court                  On:                              at                      F a.m. F p.m. in
                                            building where the
                                                                                          Date                             Time                                        Courtroom
                                            Defendant may file or
                                            e-file their                          In-person at:
                                            Appearance and
                                            Answer/ Response.                     Courthouse Address                City                                State               ZIP
                                            In 4b, fill out:
FILED DATE: 5/22/2023 9:10 AM 2023CH02874




                                                                                  OR
                                            xThe court date and
                                             time the clerk gave                  Remotely (You may be able to attend this court date by phone or video conference.
                                             you.                                 This is called a “Remote Appearance”):
                                            xThe courtroom and                          By telephone:
                                             address of the court
                                                                                                           Call-in number for telephone remote appearance
                                             building.
                                            xThe call-in or video                       By video conference:
                                             information for                                                       Video conference website
                                             remote appearances
                                             (if applicable).                           Video conference log-in information (meeting ID, password, etc.)
                                            xThe clerk’s phone
                                             number and website.
                                            All of this information               Call the Circuit Clerk at:                                            or visit their website
                                            is available from the                                               Circuit Clerk’s phone number
                                            Circuit Clerk.                        at:                                                     to find out more about how to do this.
                                                                                         Website




                                                      STOP!            Witness this Date:                                                                                 Seal
                                                                                                                                                                          Se
                                                                                                                                                                          S eal
                                                                                                                                                                             al o
                                                                                                                                                                                off Co
                                                                                                                                                                                    Cour
                                                                                                                                                                                    Court
                                                                                                                                                                                      urt
                                                                                                                                                                                      ur
                                            The Circuit Clerk will                               5/22/2023 9:10 AM IRIS Y. MARTINEZ
                                            fill in this section.      Clerk of the Court:

                                                                           STOP! The officer or process server will fill in the Date of Service
                                            Note to officer or process server:
                                                 x    If 4a is checked, this Summons must be served within 30 days of the witness date.
                                                 x    If 4b is checked, this Summons must be served at least 21 days before the court date, unless 2b is also checked.
                                                           o If 4b and 2b are checked, the Summons must be served at least 3 days before the court date.

                                                                       Date of Service:
                                                                                             (Date to be entered by an officer or process server on the copy of this
                                                                                             Summons left with the Defendant or other person.)




                                            SU-S 1503.3                                                    Page 3 of 5                                                             (05/23)
                                                        Case: 1:23-cv-04015 Document #: 1-5
                                                                                     Enter the Filed: 06/23/23
                                                                                               Case Number given by Page    224
                                                                                                                    the Circuit     of2023CH02874
                                                                                                                                        230 PageID #:284
                                                                                                                                Clerk:_________________________________

                                                                                                                                                     For Court Use Only
                                                      STATE OF ILLINOIS,
                                                       CIRCUIT COURT                                PROOF OF SERVICE OF
                                                                                                       SUMMONS AND
                                               Cook                       COUNTY                     COMPLAINT/PETITION

                                                 Instructions
FILED DATE: 5/22/2023 9:10 AM 2023CH02874




                                             Enter above the
                                             county name where            Erica Norman
                                             the case was filed.            Plaintiff / Petitioner (First, middle, last name)
                                             Enter your name as
                                             Plaintiff/Petitioner.
                                             Enter the names of all         v.
                                             people you are suing
                                             as Defendants/               Servall Biometrics d/b/a Patronscan
                                             Respondents.
                                                                            Defendant / Respondent (First, middle, last name)
                                             Enter the Case                                                                                         2023CH02874
                                             Number given by the            F Alias Summons (Check this box if this is not the      1st              Case Number
                                             Circuit Clerk.                 Summons issued for this Defendant.)

                                             **Stop. Do not complete the form. The sheriff or special process server will fill in the form. Give them one copy
                                                                 of this blank Proof of Service form for each Defendant/Respondent.**

                                                 My name is                                                                         and I state
                                                                      First, Middle, Last
                                                 F I served the Summons and Complaint/Petition on the Defendant/Respondent
                                                                                                                                                  as follows:
                                                 First, Middle, Last

                                                        F Personally on the Defendant/Respondent:
                                                          F Male        F Female      F Non-Binary                              Approx. Age:          Race:
                                                          On this date:                     at this time:                                   F a.m. F p.m.
                                                          Address, Unit#:
                                                          City, State, ZIP:

                                                        F On someone else at the Defendant/Respondent’s home who is at least 13 years old and is a family
                                                          member or lives there:
                                                          On this date:                     at this time:               F a.m. F p.m.
                                                          Address, Unit#:
                                                          City, State, ZIP:
                                                          And left it with:
                                                                                     First, Middle, Last
                                                              F Male      F Female         F Non-Binary            Approx. Age:              Race:
                                                              and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                                                              above address on this date:                       .

                                                        F On the Corporation’s agent,
                                                                                                   First, Middle, Last
                                                              F Male        F Female              F Non-Binary                  Approx. Age:         Race:
                                                              On this date:                           at this time:                        F a.m. F p.m.
                                                              Address:
                                                              City, State, ZIP:




                                            SU-S 1503.3                                                          Page 4 of 5                                              (05/23)
                                                       Case:
                                                     This      1:23-cv-04015
                                                          form is approved by the Document      #: 1-5
                                                                                  Illinois Supreme     Filed:
                                                                                                   Court and is06/23/23
                                                                                                                required toPage  225 of
                                                                                                                           be accepted in 230     PageID
                                                                                                                                          all Illinois      #:285
                                                                                                                                                       Circuit Courts.




                                                F I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

                                                First, Middle, Last
FILED DATE: 5/22/2023 9:10 AM 2023CH02874




                                                I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:

                                                1.     On this date:                            at this time:                     F a.m. F p.m.
                                                       Address:
                                                       City, State, ZIP:
                                                       Other information about service attempt:




                                                2.     On this date:                            at this time:                     F a.m. F p.m.
                                                       Address:
                                                       City, State, ZIP:
                                                       Other information about service attempt:




                                                3.     On this date:                            at this time:                     F a.m. F p.m.
                                                       Address:
                                                       City, State, ZIP:
                                                       Other information about service attempt:




                                             DO NOT complete          If you are a special process server, sheriff outside Illinois, or licensed private detective,
                                             this section. The
                                                                      your signature certifies that everything on the Proof of Service of Summons is true and
                                             sheriff or private
                                             process server will      correct to the best of your knowledge. You understand that making a false statement on
                                             complete it.             this form could be perjury.

                                                                      By:                                                FEES
                                             Under the Code of                                                           Service and Return:      $
                                             Civil Procedure, 735                     F Sheriff
                                                                      Signature by:                                      Miles                    $
                                             ILCS 5/1-109,
                                             making a statement                       F Sheriff outside Illinois:        Total                    $ 0.00
                                             on this form that you
                                             know to be false is
                                             perjury, a Class 3                           County and State
                                             Felony.                                  F Special process server
                                                                                      F Licensed private
                                                                                        detective

                                                                      Print Name


                                                                      If Summons is served by licensed private detective or private detective agency:
                                                                      License Number:

                                            SU-S 1503.3                                                 Page 5 of 5                                                      (05/23)
            Hearing Date: No Case:   1:23-cv-04015
                             hearing scheduled       Document #: 1-5 Filed: 06/23/23 Page 226 of 230 PageID #:286
            Location: <<CourtRoomNumber>>
            Judge: Calendar, 3
                                                                                                      FILED
                                                                                                      6/5/2023 11:00 AM
                                                                                                      IRIS Y. MARTINEZ
                                                                                                      CIRCUIT CLERK
                                                                                                      COOK COUNTY, IL
FILED DATE: 6/5/2023 11:00 AM 2023CH02874




                                                                                                      2023CH02874
                                                                                                      Calendar, 3
                                                                                                      22999866
        Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 227 of 230 PageID #:287


Date: 6/13/2023


CIRCUIT COURT OF COOK COUNTY
CHANCERY DIV., RM. 802 DALEY CENTER.
CHICAGO IL-60602

Norman Erica


-
kaw@wbe-llp.com

CASE: 2023CH02874 / CALENDAR: 03


Norman, Erica -vs- Servall Biometrics d/b/a Patronscan, Inc.,

YOUR COURT DATE IS ON Monday July 24 2023 AT 09:30 AM
** PLEASE DO NOT COME DOWN TO THE COURTHOUSE **
IN ORDER TO APPEAR BY TELEPHONE OR VIDEO FOR YOUR
 USE THE FOLLOWING ZOOM INFORMATION:

ZOOM ACCESS CODE: 955 0046 1687 PASSWORD: 640378
INSTRUCTIONS FOR ACCESSING ZOOM BY VIDEO ARE AVAILABLE AT
HTTP://WWW.COOKCOUNTYCOURT.ORG/ AND AT HTTPS://ZOOM.US/
TO ACCESS ZOOM BY PHONE, CALL 312-626-6799 THEN ENTER THE
THE ACCESS CODE AND PASSWORD LISTED ABOVE.
IF YOU HAVE ANY QUESTIONS PLEASE CONTACT THE COURT
EMAILING CCC.CHANCERYCALENDAR3@COOKCOUNTYIL.GOV
OR CALLING 312-603-5432
        Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 228 of 230 PageID #:288


Date: 6/13/2023


CIRCUIT COURT OF COOK COUNTY
CHANCERY DIV., RM. 802 DALEY CENTER.
CHICAGO IL-60602

Norman Erica


-
kaw@wbe-llp.com

CASE: 2023CH02874 / CALENDAR: 03


Norman, Erica -vs- Servall Biometrics d/b/a Patronscan, Inc.,

YOUR COURT DATE IS ON Monday July 24 2023 AT 09:30 AM
** PLEASE DO NOT COME DOWN TO THE COURTHOUSE **
IN ORDER TO APPEAR BY TELEPHONE OR VIDEO FOR YOUR
 USE THE FOLLOWING ZOOM INFORMATION:

ZOOM ACCESS CODE: 955 0046 1687 PASSWORD: 640378
INSTRUCTIONS FOR ACCESSING ZOOM BY VIDEO ARE AVAILABLE AT
HTTP://WWW.COOKCOUNTYCOURT.ORG/ AND AT HTTPS://ZOOM.US/
TO ACCESS ZOOM BY PHONE, CALL 312-626-6799 THEN ENTER THE
THE ACCESS CODE AND PASSWORD LISTED ABOVE.
IF YOU HAVE ANY QUESTIONS PLEASE CONTACT THE COURT
EMAILING CCC.CHANCERYCALENDAR3@COOKCOUNTYIL.GOV
OR CALLING 312-603-5432
        Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 229 of 230 PageID #:289


Date: 6/13/2023


CIRCUIT COURT OF COOK COUNTY
CHANCERY DIV., RM. 802 DALEY CENTER.
CHICAGO IL-60602

Norman Erica


-
esd@wbe-llp.com

CASE: 2023CH02874 / CALENDAR: 03


Norman, Erica -vs- Servall Biometrics d/b/a Patronscan, Inc.,

YOUR COURT DATE IS ON Monday July 24 2023 AT 09:30 AM
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        Case: 1:23-cv-04015 Document #: 1-5 Filed: 06/23/23 Page 230 of 230 PageID #:290


Date: 6/13/2023


CIRCUIT COURT OF COOK COUNTY
CHANCERY DIV., RM. 802 DALEY CENTER.
CHICAGO IL-60602

Norman Erica


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esd@wbe-llp.com

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